Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 1 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 2 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 3 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 4 of 104




                        -               -
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 5 of 104




              FACT SHEET
               Case 24-21209-LMI               Doc 147           Filed 12/19/24             Page 6 of 104




              A Trusted Source for Asset Appraisal and Liquidation

                          Bankruptcy Case No. 24-21209-LMI (Jointly Administered)

                                Timed Online Public Auction
                  Auction opening date: Saturday, November 16th, at 10 AM
                   Auction ending date: Thursday, December 5th, at 10 AM
   Inspection: Tues, December 3 and Wed, December 4 from 10 AM to 4 PM by appointment
                       Location: 4101 NW 25th Street, Miami, FL 33142

Service: conducted a timed online auction consisting of commercial kitchen equipment and appliances, a
like new fully equipped 2022 Ford F-                                                    -built container
                            -built container kitchens (all fully equipped with quality brand appliances
and ready for immediate use), like new office furniture and accessories, new and gently used electronics,
professional A/V equipment, lighting, networking equipment, flat screen TV’s, warehouse equipment and
much more.

Statistics:
 Auction platforms utilized: Proxibid, Bidspotter and Moecker Auctions
 Total number of inspection appointments: 25
 Total number of registered bidders on-site: N/A
 Total number of registered bidders on-line: 472
 Registered participants from the following countries: United States, Canada, Barbados, Ghana, India, Colombia,
 Guatemala, Honduras, Mexico, Pakistan, Romania, Tanzania
 Total winning bidders: 137
 Total lots sold: 615
 Total lots unsold/remaining: 13


Total Auction Sale: $535,047.52

Count views:
 Total number catalog views via proxibid.com: 22,388 | combined lot pages: 25,623
 Total number catalog views via auctionlook.com: 6,343
 Total number catalog views via locateauctions.com: 800,658
 Total number campaign views via facebook.com: People reached: 9,761 | Post impressions: 15,817
 Total number catalog views via gotoauction.com: 1,121




                      Moecker Auctions, Inc. 1885 Marina Mile Blvd., Suite 103, Fort Lauderdale, FL 33315
                               (800) 840-BIDS / (954) 252-2887 / www.moeckerauctions.com
                 Case 24-21209-LMI                  Doc 147           Filed 12/19/24             Page 7 of 104



Media/Marketing Utilized:
     (2) Scheduled newsletter blast to all opt-in Proxibid subscribers
     (7) days listed on Proxibid homepage
     (2) Scheduled newsletter blast to all opt-in Auctionlook subscribers
     (3) Scheduled email blast to opt-in Moecker Auctions subscribers
     (1) Scheduled newsletter blast to all opt-in Today’s Restaurant News subscribers
     Allauctionsales website
     Auctionbill website
     Auctionguy website
     Auctionlook website
     Auctionology website
     Auctionzip website
     Bidderspotter website
     Bizjournals website
     Estatesale website
     Facebook website
     Florida Auctioneers Association website
     Georgia Auctioneers Association website
     Globalauctionguide website
     Gotoauction website
     Hibid.com website
     Instagram website
     Linkedin website
     Locateauctions website
     Moeckerauctions website
     Proxibid website
     Sun Sentinel Legal ad
     Twitter website
     Yundle website
     Targeted contacts and related companies via on-line contact info forms, emails, and telephonically

Feedback during inspection:
Prospective bidders were genuinely impressed by the exceptional quality and pristine condition of the items on display. Many
attendees complimented Moecker Auctions, particularly praising the meticulous setup and thorough cataloging of the auction
items. The organization and presentation not only highlighted the value of each piece but also enhanced the overall bidding
experience.

Post auction note:
We encountered challenges in collecting payments for seven unpaid invoices. As a result of these unsuccessful collection efforts,
we have reported the bidders to Proxibid and Bidspotter as non-payers. These individuals have also been added to our black
flagged/decline list. Currently, we have a total of 13 remaining lots available for sale. We are planning to include the lots in a
future bankruptcy sale.

Auction Staff:
Eric Rubin, CES, GPPA | Licensed Auctioneer AU 3219 | Consultant
David D. Dybas, AMM, CES, MPPA | Licensed Auctioneer AU 4192 | Consultant
Eulalia S. Rodriguez, ATS | Licensed Auctioneer AU 4272 | Consultant/Bookkeeper
Omar Diaz, GPPA | Consultant
Michael Shirinian | Consultant
                                                                                                           FACT SHEET PREPARED BY:
                                                                                                            EULALIA RODRIGUEZ, ATS



                                                                                                                    Date: 12/17/24


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Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 8 of 104




SETTLEMENT STATEMENT
               Case 24-21209-LMI       Doc 147         Filed 12/19/24        Page 9 of 104
                                        Accounting of Sale Report


                                                                                      Moecker Auctions, Inc.
                                                                                             AB 1098




Date: 12/17/24                                                                           Account         4993


                                 ACCOUNTING OF SALE
                                      SHIFTPIXY, INC.

Client:
Jonathan S. Feldman, CRO
Phang Feldman
One Biscayne Tower, Suite 1600
2 South Biscayne Blvd
Miami, FL 33131

Reference:
ShiftPixy, Inc.
Auction end date: 12/05/24 | Timed Online auction

a. Auction proceeds                                                                    $535,047.52
b. Buyers premium collected (including for auction platforms)                           $69,525.08
c. Local Sales Tax                                                                      $12,520.07
d. Gross sale proceeds                                                                 $617,092.67

e. Seller's Good faith deposit                                                               $0.00
f. Auctioneer's cost and expenses                                                       -$24,950.36
g. Less sales tax (paid to Florida Department of Revenue)                               -$12,520.07
h. Less buyer's premium                                                                 -$69,525.08
i. Less seller's commission                                                               $0.00
j. Net due to Estate                                                                   $510,097.16
k. Less advance proceeds wired on 12/16/24                                             -$150,000.00
l. Net balance due to Estate                                                           $360,097.16
                                             Moecker Auctions, Inc.
                                        1885 Marina Mile Blvd., Suite 103
                                         Fort Lauderdale, Florida 33315
                                  (954) 252-2887 / www.moeckerauctions.com
 Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 10 of 104




TOTAL EXPENSE BREAKDOWN
                      Case 24-21209-LMI                  Doc 147         Filed 12/19/24         Page 11 of 104

                                                                  TOTAL EXPENSES TO CONDUCT AUCTION

                                                                                         Auction date: December 5, 2024
                                                                                                     ShiftPixy, Inc. et al.
                                                                                        4101 NW 25th Street, Miami, FL 33142
                                                                                                          Jonathan Feldman


                                                 SHIFTPIXY, INC. et al.
                                                               Labor
Administrative, Set-up, Organization, Labor
Description, photos, data entry, cataloging, and uploading                                                         $5,700.00
Administrative                                                                                                      $840.00

Inspection/Preview
(3) Staff Members                                                                                                  $1,920.00

Auction Event
(1) Staff Member:web-cast personnel                                                                                  $320.00

Auction Checkout
(6) Staff Members                                                                                                  $8,820.00

                                                       Media and Marketing
Trade Publications & Newspapers
Sun Sentinel legal ad (two consecutive Sundays)                                                                      $173.78
Today's Restaurant News email blast                                                                                  $199.00

Marketing flyers
Double sided color customized flyers includes envelope and postage                                                      N/A

Ad Design & Typesetting
Mailing List
Layout & Design: Design, Proofing, Typesetting                                                                      $350.00
Moecker Auctions, Inc.                                                                                            No Charge
Business Lists                                                                                                    No Charge

On-line Auction Platform & Internet Advertising
Moecker Auctions, Inc. website, Florida Auctioneers Association website, Auctionzip website,
Locateauctions website, Globalauctionguide website, Gotoauctions website, Auctionlook website,
Auctionbill website, Hibid website                                                                                   $512.00
Moecker Auctions E-Mail List (opt-in subscribers)                                                                    $600.00
Web-cast Internet Bidding & Marketing Package: Global Online bidding, advertising, 7-days homepage
listing, bulk email blast, web-cast off-site remote operator and listing fee for one day event                     $1,652.00

Telemarketing                                                                                                       $120.00
Long Distance/Watts line/Telemarketing                                                                            No Charge
Telemarketing and Personal Solicitations

Registration Forms & Catalogs
Complete catalogs 100 pcs. @ $1.00/each                                                                           No Charge
Double sided registration forms 100 pcs. @ 50¢/each                                                               No Charge

Auction reconcilation and report                                                                                     $300.00

                                                         Lodging and Travel
Travel and mileage for auction set-up, inspection period, auction event and checkout                               $2,888.58

                                                     Other: Optional Services
Court appearance (Eric Rubin) including travel and parking                                                           $555.00



                                                                                              Labor               $17,600.00
                                                                               Media and Marketing                 $3,906.78
                                                                                 Lodging and Travel                $2,888.58
                                                                            Other: Optional Services                $555.00
                                                                 Total Expenses to Conduct Auction                $24,950.36

                                                                                       Total                    $24,950.36
                                                              Professional courtesy discount
                                                              Total Client Cost and Expenses                    $24,950.36
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 12 of 104




       LOTS SOLD REPORT
                                 Case 24-21209-LMI     Doc 147    Filed 12/19/24        Page 13 of 104
                                              SELLER REPORT OF LOTS SOLD                                         v9.19-COMaint-12




                                                                                    CO #:                               1325
                                                                                    Date:                        12/16/2024
                                                                                    Page:                                    1


                    SELLER: 4993
                    Jonathan S. Feldman, CRO
                    ShiftPixy, Inc.
                    One Biscayne Tower, Suite 1600
                    2 South Biscayne Blvd.
                    Miami, FL 33131


Auction: ShiftPixy, Inc.

 Lot#              Description                              Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
 1                 CONVERSATIONAL FURNITURE (7) PIECE        1.00      950.00          950.00           0.00             0.00
                   SET CONSISTING OF (4) HIGH BACK SWIVEL
                   CHAIRS, (1) COFFEE TABLE, (2) SIDE
                   TABLES, BRAND BY: SIT ON IT SEATING
 2                 COLZER AIR PURIFIER MODEL COLZER 1556     1.00      110.00          110.00           0.00             0.00
 3                 SHARP CAROUSEL MICROWAVE OVEN             1.00       25.00           25.00           0.00             0.00
 4                 CHEFMAN TOASTER OVEN                      1.00       70.00           70.00           0.00             0.00
 5                 ANTARCTIC STAR BEVERAGE AND WINE          1.00      150.00          150.00           0.00             0.00
                   CENTER MODEL JC-128VEL-F
 8                 LOT CONSISTING OF CONTENTS IN             1.00       90.00           90.00           0.00             0.00
                   CABINETS PLASTIC WARE, UTENSILS,
                   CLEANING SUPPLIES, COFFEE AND TEA
                   SUPPLIES AND MORE
 9                 STAINLESS STEEL SOFT CLOSE TRASH CAN      1.00       40.00           40.00           0.00             0.00
 10                CONVERSATIONAL FURNITURE (6) PIECE        1.00      750.00          750.00           0.00             0.00
                   SET CONSISTING OF (3) BENCH SEAT, (1)
                   COFFEE TABLE, (2) ARM CHAIRS, BRAND
                   BY: SIT ON IT SEATING
 11                L-SHAPE DESK INCLUDES OFFICE ROLLING      1.00      100.00          100.00           0.00             0.00
                   CHAIR AND (2) METAL THREE DRAWER
                   ROLLING FILE CABINET AND METAL TRASH
                   BIN
 12                L-SHAPE DESK INCLUDES OFFICE ROLLING      1.00      110.00          110.00           0.00             0.00
                   CHAIR AND (2) METAL THREE DRAWER
                   ROLLING FILE CABINET AND METAL TRASH
                   BIN
 13                LOT CONSISTING OF ELECTRONICS             1.00      120.00          120.00           0.00             0.00
                   INCLUDING 27" BENQ MONITOR,
                   PLANTRONICS HEADSET, LOGITECH WEB
                   CAM, MICROSOFT DOCKING STATION, AND
                   WIRELESS MICROSOFT KEYBOARD AND
                   MOUSE
 14                L-SHAPE DESK INCLUDES OFFICE ROLLING      1.00       90.00           90.00           0.00             0.00
                   CHAIR AND (2) METAL THREE DRAWER
                   ROLLING FILE CABINET AND METAL TRASH
                   BIN
                     Case 24-21209-LMI   Doc 147    Filed 12/19/24        Page 14 of 104
                                 SELLER REPORT OF LOTS SOLD                                        v9.19-COMaint-12




                                                                      CO #:                               1325
                                                                      Date:                        12/16/2024
                                                                      Page:                                    2


Lot#   Description                            Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
15     L-SHAPE DESK INCLUDES OFFICE ROLLING    1.00       90.00           90.00           0.00             0.00
       CHAIR AND (2) METAL THREE DRAWER
       ROLLING FILE CABINET AND METAL TRASH
       BIN
16     L-SHAPE DESK INCLUDES OFFICE ROLLING    1.00       90.00           90.00           0.00             0.00
       CHAIR AND (2) METAL THREE DRAWER
       ROLLING FILE CABINET AND METAL TRASH
       BIN
17     L-SHAPE DESK INCLUDES OFFICE ROLLING    1.00      120.00          120.00           0.00             0.00
       CHAIR AND (2) METAL THREE DRAWER
       ROLLING FILE CABINET AND METAL TRASH
       BIN
18     L-SHAPE DESK INCLUDES OFFICE ROLLING    1.00      100.00          100.00           0.00             0.00
       CHAIR AND (2) METAL THREE DRAWER
       ROLLING FILE CABINET AND METAL TRASH
       BIN
19     L-SHAPE DESK INCLUDES OFFICE ROLLING    1.00       90.00           90.00           0.00             0.00
       CHAIR AND (2) METAL THREE DRAWER
       ROLLING FILE CABINET AND METAL TRASH
       BIN
20     L-SHAPE DESK INCLUDES OFFICE ROLLING    1.00      130.00          130.00           0.00             0.00
       CHAIR AND (2) METAL THREE DRAWER
       ROLLING FILE CABINET AND METAL TRASH
       BIN
21     L-SHAPE DESK INCLUDES OFFICE ROLLING    1.00      110.00          110.00           0.00             0.00
       CHAIR AND (2) METAL THREE DRAWER
       ROLLING FILE CABINET AND METAL TRASH
       BIN
22     LOT CONSISTING OF ELECTRONICS           1.00       80.00           80.00           0.00             0.00
       INCLUDING 27" LG MONITOR MODEL
       27BL85U-W, PLANTRONICS HEADSET,
       LOGITECH WEB CAM, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
23     LOT CONSISTING OF ELECTRONICS           1.00       90.00           90.00           0.00             0.00
       INCLUDING 27" LG MONITOR MODEL
       27BL85U-W, PLANTRONICS HEADSET,
       LOGITECH WEB CAM, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
24     LOT CONSISTING OF ELECTRONICS           1.00       90.00           90.00           0.00             0.00
       INCLUDING 27" LG MONITOR MODEL
       27BL85U-W, PLANTRONICS HEADSET,
       LOGITECH WEB CAM, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
                     Case 24-21209-LMI     Doc 147    Filed 12/19/24        Page 15 of 104
                                 SELLER REPORT OF LOTS SOLD                                          v9.19-COMaint-12




                                                                        CO #:                               1325
                                                                        Date:                        12/16/2024
                                                                        Page:                                    3


Lot#   Description                              Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
25     LOT CONSISTING OF ELECTRONICS             1.00       80.00           80.00           0.00             0.00
       INCLUDING 27" LG MONITOR MODEL
       27BL85U-W, PLANTRONICS HEADSET,
       LOGITECH WEB CAM, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
26     LOT CONSISTING OF ELECTRONICS             1.00      100.00          100.00           0.00             0.00
       INCLUDING 27" LG MONITOR MODEL
       27BL85U-W, PLANTRONICS HEADSET,
       LOGITECH WEB CAM, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
27     LOT CONSISTING OF ELECTRONICS             1.00      110.00          110.00           0.00             0.00
       INCLUDING 27" LG MONITOR MODEL
       27BL85U-W, PLANTRONICS HEADSET,
       LOGITECH WEB CAM, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
28     LOT CONSISTING OF ELECTRONICS             1.00      100.00          100.00           0.00             0.00
       INCLUDING 27" LG MONITOR MODEL
       27BL85U-W, PLANTRONICS HEADSET,
       LOGITECH WEB CAM, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
29     DINETTE TABLE INCLUDES (4) CHAIRS         1.00      160.00          160.00           0.00             0.00
       MEASURING 42" D X 29 1/2" H
31     SAMSUNG 49" LCD MONITOR MODEL             1.00      475.00          475.00           0.00             0.00
       C49RG90SSN
32     DELL 49" LCD MONITOR MODEL U4919DW        1.00      500.00          500.00           0.00             0.00
33     LG 32" MONITOR MODEL 32BL75U-W            1.00      140.00          140.00           0.00             0.00
       INCLUDES WIRELESS KEYBOARD AND
       MOUSE
34     SAMSUNG 75" TV MODEL UN75TU8000F,         1.00      275.00          275.00           0.00             0.00
       INCLUDES REMOTE, WALL MOUNT AND NO
       BASE
35     COLZER AIR PURIFIER MODEL COLZER 1556     1.00      100.00          100.00           0.00             0.00
36     AMAZON DOT                                1.00       14.00           14.00           0.00             0.00
37     EPOXY TOP ELECTRICAL ADJUSTABLE           1.00      350.00          350.00           0.00             0.00
       DESK MEASURING 8' X 42", BRAND: AMQ,
       INCLUDES (2) CLIENT CHAIRS
38     HERMAN MILLER AERON CHAIR                 1.00      450.00          450.00           0.00             0.00
39     3-DRAWER LATERAL FILE CABINETS            3.00      110.00          330.00           0.00             0.00
40     2-DRAWER LATERAL FILE CABINET             1.00       90.00           90.00           0.00             0.00
                     Case 24-21209-LMI    Doc 147    Filed 12/19/24          Page 16 of 104
                                 SELLER REPORT OF LOTS SOLD                                           v9.19-COMaint-12




                                                                         CO #:                               1325
                                                                         Date:                        12/16/2024
                                                                         Page:                                    4


Lot#   Description                             Quantity     Unit Price       Ext.Price Comm/BuyBack        Expenses
41     DESK LAMPS                               2.00         17.00           34.00           0.00             0.00
42     LARGE GLASS DRY ERASE BOARD WALL         1.00       110.00           110.00           0.00             0.00
       MOUNTED
43     WALL UNIT CONSISTING OF STORAGE          1.00       325.00           325.00           0.00             0.00
       CABINETS INCLUDES CREDENZA AND
       HUTCHES
44     SACHTLER VIDEO 18 S2 FLUID HEAD & ENG    1.00      3,250.00        3,250.00           0.00             0.00
       2 CF TRIPOD SYSTEM INCLUDES MID-LEVEL
       SPREADER, ON CASTERS
45     SACHTLER VIDEO 18 S2 FLUID HEAD & ENG    1.00      3,250.00        3,250.00           0.00             0.00
       2 CF TRIPOD SYSTEM INCLUDES MID-LEVEL
       SPREADER, ON CASTERS
46     SMALLRIG BIG DREAM TRIPOD INCLUDES       1.00         70.00           70.00           0.00             0.00
       SOFT CARRYING CASE
47     KINO FLO FREESTYLE LIGHTING SYSTEM       1.00       475.00           475.00           0.00             0.00
       INCLUDES CARRYING CASE
48     KINO FLO FREESTYLE LIGHTING SYSTEM       1.00       750.00           750.00           0.00             0.00
       INCLUDES CARRYING CASE
49     K-TEK ESSENTIAL COMPOSITE BOOM           2.00       100.00           200.00           0.00             0.00
       POLES CABLED VARIOUS SIZE
50     RODE WIRELESS GO II DUAL CHANNEL         1.00       120.00           120.00           0.00             0.00
       WIRELESS MICROPHONE SYSTEM
51     OBEN CTT-1000L CARBON FIBER TABLETOP     1.00         45.00           45.00           0.00             0.00
       TRIPOD
52     SANKEN CS-1E MICROPHONES INCLUDES        2.00       300.00           600.00           0.00             0.00
       BOX
53     ASTERA BOX ART7 WI-FI CRMX               1.00         90.00           90.00           0.00             0.00
       TRANSMITTER BOX INCLUDES HARD
       CARRYING CASE
55     ASTERA SET OF 8 TITAN TUBES INCLUDES     1.00      2,250.00        2,250.00           0.00             0.00
       CHARGING CASE 16 LED EMITTERS, 40.7"
56     GLIDE GEAR TMP 750 17" PROFESSIONAL      1.00         15.00           15.00           0.00             0.00
       VIDEO CAMERA TABLET TELEPROMPTER
       70/30 BEAM SPLITTING GLASS INCLUDES
       HARD PROTECTIVE CARRY CASE
59     APUTURE NOVA P300C 300W RGBWW LED        1.00       800.00           800.00           0.00             0.00
       SOFT LIGHT PANEL
60     NUCLEUS-M WLC-T03 WIRELESS FOLLOW        1.00       150.00           150.00           0.00             0.00
       FOCUS/LENS CONTROL SYSTEM, INCLUDES
       HARD CARRYING CASE
61     LECTROSONICS SRC DUAL-CHANNEL            1.00       700.00           700.00           0.00             0.00
       SLOT-MOUNT ENG RECEIVER, MODEL
       SRC-941
                     Case 24-21209-LMI   Doc 147     Filed 12/19/24          Page 17 of 104
                                 SELLER REPORT OF LOTS SOLD                                           v9.19-COMaint-12




                                                                         CO #:                               1325
                                                                         Date:                        12/16/2024
                                                                         Page:                                    5


Lot#   Description                             Quantity     Unit Price       Ext.Price Comm/BuyBack        Expenses
62     TERADEK BOLT 4K LT 750 TRANSMITTERS      1.00       600.00           600.00           0.00             0.00
       INCLUDES HARD CARRYING CASE
63     APUTURE 300X LED VIDEO LIGHT APUTURE     1.00       650.00           650.00           0.00             0.00
       LS 300X 300W, BI-COLOR 2700K-6500K,
       24300LUX, INCLUDES CARRYING CASE AND
       ACCESSORIES
64     APUTURE SPOTLIGHT MAX KIT INCLUDES 36    1.00       275.00           275.00           0.00             0.00
       DEGREE LENS INCLUDES HARD CARRYING
       CASE
65     APUTURE NOVA P300C SOFTBOX               2.00         45.00           90.00           0.00             0.00
66     SMALLHD SMART 7 SUNHOOD FOR INDIE 7      1.00         14.00           14.00           0.00             0.00
       702 TOUCH AND CINE 7 MONITOR
67     RED DIGITAL CINEMA KOMODO EXPANDER       1.00         70.00           70.00           0.00             0.00
       MODULE
68     CANON DROP-IN CLEAR FILTER A             1.00         30.00           30.00           0.00             0.00
69     REVOPOINT POP 2 PREMIUM 3D SCANNER       1.00       200.00           200.00           0.00             0.00
       0.05MM PRECISION, TURNTABLE, &
       STABILIZER
70     ELVID 9-SECTION ACRYLIC PRODUCTION       1.00         30.00           30.00           0.00             0.00
       SLATE INCLUDES COLOR CLAPPER STICKS
71     APUTURE FRESNEL 2X MOUNT                 1.00         40.00           40.00           0.00             0.00
72     RED DIGITAL CINEMA KOMODO RED 6K         1.00      3,500.00        3,500.00           0.00             0.00
       INCLUDES KOMODO OUTRIGGER HANDLE,
       (1) WOODEN CAMERA ACCESSORY KIT,
       CARD READER AND (2) BATTERIES
73     HTC VIVE PRO SECURE VIRTUAL REALITY      1.00       325.00           325.00           0.00             0.00
       SYSTEM
74     VARJO XR-3 TRUE MIXED REALITY            1.00       325.00           325.00           0.00             0.00
       HEADSET
75     ATOMOS 7" SHOGUN ULTRA                   1.00       450.00           450.00           0.00             0.00
       MONITOR-RECORDER INCLUDES HARD
       CARRYING CASE AND ACCESSORIES
76     SMALLHD 1700 SERIES MONITOR              1.00      1,700.00        1,700.00           0.00             0.00
77     SMALLHD 1700 SERIES MONITOR              1.00       800.00           800.00           0.00             0.00
78     LOT CONSISTING OF ASSORTED               1.00         25.00           25.00           0.00             0.00
       AUDIO/VIDEO CABLES
79     NUCLEUS-M WLC-T03 WIRELESS FOLLOW        1.00       275.00           275.00           0.00             0.00
       FOCUS/LENS CONTROL SYSTEM INCLUDES
       BATTERY CHARGER, INCLUDES HARD
       CARRYING CASE
80     SONY PROFESSIONAL MDR-7506 DYNAMIC       1.00         35.00           35.00           0.00             0.00
       STEREO HEADPHONES
                     Case 24-21209-LMI      Doc 147    Filed 12/19/24        Page 18 of 104
                                 SELLER REPORT OF LOTS SOLD                                           v9.19-COMaint-12




                                                                         CO #:                               1325
                                                                         Date:                        12/16/2024
                                                                         Page:                                    6


Lot#   Description                               Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
81     BRIGHT TANGERINE MISFIT KICK 2-STAGE       1.00      150.00          150.00           0.00             0.00
       MATTE BOX KIT
82     BRIGHT TANGERINE MISFIT KICK 2-STAGE       1.00      130.00          130.00           0.00             0.00
       MATTE BOX KIT
83     TILTA NUCLEUS-M HANDGRIP TILTAMAX          1.00       50.00           50.00           0.00             0.00
       WLC-T03HR INCLUDES SHAPE TELESCOPIC
       HANDLE, (RIGHT HAND)
84     TILTA NUCLEUS-M HANDGRIP TILTAMAX          1.00       40.00           40.00           0.00             0.00
       WLC-T03HL INCLUDES SHAPE TELESCOPIC
       HANDLE, (LEFT HAND)
85     TILTA NUCLEUS-M HANDGRIP TILTAMAX          1.00       40.00           40.00           0.00             0.00
       WLC-T03HL INCLUDES SHAPE TELESCOPIC
       HANDLE, (LEFT HAND)
86     SONY FS7 MARK II SERVO HANDLE              1.00      275.00          275.00           0.00             0.00
       INCLUDES SHAPE TELESCOPIC HANDLE,
       (RIGHT HAND)
87     BLUESHAPE DUAL CHARGER INCLUDES            1.00      170.00          170.00           0.00             0.00
       XLR POWER INCLUDES (2) BATTERIES
       BG14HD MINI GRANITE MINI
88     BLUESHAPE DUAL CHARGER INCLUDES            1.00      120.00          120.00           0.00             0.00
       XLR POWER INCLUDES (1) BATTERIES
       BG14HD MINI GRANITE MINI
89     LOT CONSISTING OF RECHARGEABLE             1.00       40.00           40.00           0.00             0.00
       BATTERY PACKS (1) SONY BP-U35, (2)
       ATOMBAT003
90     BLUESHAPE INTELLIGENT LITHIUM-ION          4.00       15.00           60.00           0.00             0.00
       BATTERY PACK MODEL BMBP975
91     WESTCOTT FJ-X2M UNIVERSAL FLASH            1.00       17.00           17.00           0.00             0.00
       TRIGGER
92     ZACUTO CANON C500 MARK II & C300 MARK      1.00      150.00          150.00           0.00             0.00
       III Z-FINDER
93     LASTOLITE BY MANFROTTO LL LB67GW 6' X      1.00       13.00           13.00           0.00             0.00
       7' COLLAPSIBLE WHITE / MID GREY
94     TRP WORLDWIDE CHROMAKEY GREEN              1.00       45.00           45.00           0.00             0.00
       POLYPRO 12 X 20 (WIDE-INCLUDES)
95     TRP WORLDWIDE CHROMAKEY GREEN              1.00       45.00           45.00           0.00             0.00
       POLYPRO 12 X 20 (WIDE-INCLUDES)
96     LOT CONSISTING OF ASSORTED SIZE            1.00       25.00           25.00           0.00             0.00
       BACKDROP FABRIC AND FULL GREEN BODY
       SUIT (XXL)
97     SIGMA LENS HOOD FOR 70-200MM 1:2.8 DG      1.00       25.00           25.00           0.00             0.00
       DN 077 SPORTS LENS
                     Case 24-21209-LMI    Doc 147     Filed 12/19/24          Page 19 of 104
                                 SELLER REPORT OF LOTS SOLD                                            v9.19-COMaint-12




                                                                          CO #:                               1325
                                                                          Date:                        12/16/2024
                                                                          Page:                                    7


Lot#   Description                              Quantity     Unit Price       Ext.Price Comm/BuyBack        Expenses
98     LOT CONSISTING OF ASSORTED ITEMS          1.00         11.00           11.00           0.00             0.00
       TEKTON 30PCS HEX KEY SET, HELIFOUNER,
       WIREFRY, BUNGEE CORDS, HUSKY
       CUTTERS AND MORE
99     HERCULES TUFF FAC-101A FAST CHARGE        1.00         25.00           25.00           0.00             0.00
       MULTI DEVICE CHARGING DOCK STATION
100    LOT CONSISTING OF MATTHEWS STUDIOS        1.00       140.00           140.00           0.00             0.00
       APPLE BOXES (5) QUARTER, HALF, AND
       FULL SIZES
101    LOT CONSISTING OF MATTHEWS STUDIOS        1.00       100.00           100.00           0.00             0.00
       APPLE BOXES (3) QUARTER, HALF, AND
       FULL SIZES
102    HYOUJIN 23" MANNEQUIN HEAD                1.00          4.00               4.00        0.00             0.00
103    SONY PXW-FX9V 4K FULL FRAME CAMERA        1.00      3,000.00        3,000.00           0.00             0.00
       SYSTEM BODY INCLUDES WOODEN
       CAMERA TOP PLATE, TOP HANDLE,
       LEFTFIELD 15MM LWS QR UNIVERSAL
       BASEPLATE, TASCAM DR-40 LINEAR PCM
       RECORDER, SONY MONITOR AND
       MAGNIFIER ASSEMBLY, INCLUDES (2)
       BLUESHAPE GRANITE MINI BG095HD MINI,
       INCLUDES HARD CARRYING CASE NANUK
       935, (NOTE NO LENSES INCLUDED)
104    SONY - ALPHA 7S III FULL-FRAME            1.00      4,000.00        4,000.00           0.00             0.00
       MIRRORLESS CAMERA INCLUDES SIGMA
       24-70MM F/2.8 DG DN ART LENS, INCLUDES
       SONY BATTERY CHARGER, AND SMALLRIG
       ACCESSORIES, INCLUDES HARD CARRYING
       CASE NANUK 935
105    DJI RS 2 GIMBAL INCLUDES FOCUS MOTOR,     1.00       400.00           400.00           0.00             0.00
       RAVENEYE IMAGE TRANSMITTER SYSTEM,
       PHONE HOLDER, BG30 GRIP, EXTENDED
       GRIP/TRIPOD, QUICK-RELEASE PLATE,
       ASSORTED CABLES MINI HDMI TO MINI
       HDMI, USBC, AND HARD CARRYING CASE
       NANUK 930
106    CANON EF 85MM F/1.4L IS USM LENS          1.00       475.00           475.00           0.00             0.00
       INCLUDES CANON ET-83E LENS HOOD
107    CANON EF 135MM F/1.2L LENS INCLUDES       1.00       350.00           350.00           0.00             0.00
       CANON ET-78II LENS HOOD
108    CANON DROP-IN FILTER MOUNT ADAPTER        1.00         40.00           40.00           0.00             0.00
109    DZOFILM VESPID PRIME 25MM LENS            1.00       900.00           900.00           0.00             0.00
110    DZOFILM VESPID PRIME 35MM LENS            1.00       475.00           475.00           0.00             0.00
                     Case 24-21209-LMI     Doc 147    Filed 12/19/24        Page 20 of 104
                                 SELLER REPORT OF LOTS SOLD                                          v9.19-COMaint-12




                                                                        CO #:                               1325
                                                                        Date:                        12/16/2024
                                                                        Page:                                    8


Lot#   Description                              Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
111    DZOFILM VESPID PRIME 50MM LENS            1.00      650.00          650.00           0.00             0.00
112    DZOFILM VESPID PRIME 75MM LENS            1.00      900.00          900.00           0.00             0.00
113    DZOFILM VESPID PRIME 100MM LENS           1.00      700.00          700.00           0.00             0.00
114    DZOFILM VESPID PRIME 125MM LENS           1.00      300.00          300.00           0.00             0.00
115    METABONES EF-E MOUNT T CINE INCLUDES      1.00      110.00          110.00           0.00             0.00
       HARD CASE
116    LOT CONSISTING OF CAMERA LENS BAGS        1.00        5.00               5.00        0.00             0.00
117    NANUK 935 PRO PHOTO KIT HARD CASE         1.00      170.00          170.00           0.00             0.00
118    NANUK 935 PRO PHOTO KIT HARD CASE         1.00       70.00           70.00           0.00             0.00
119    LECTROSONICS SMQV-941 SUPER               2.00      700.00        1,400.00           0.00             0.00
       MINIATURE WIRELESS MICROPHONE
       TRANSMITTER
120    LAVALIER MICROPHONES MODEL                2.00      110.00          220.00           0.00             0.00
       ROLINKLAV RODELINK LAV
       OMNIDIRECTIONAL MICROPHONES,
       COS-11D PT
121    SARAMONIC SMARTRIG+ 2-CHANNEL XLR         1.00       30.00           30.00           0.00             0.00
       MICROPHONE AUDIO MIXER
122    SONY XQD 120GB MEMORY CARD FOR FX-9       5.00       35.00          175.00           0.00             0.00
123    SANDISK EXTREME PRO 512GB CFAST 2.0       3.00       80.00          240.00           0.00             0.00
       MEMORY CARD
124    SACHTLER SPEEDLEVEL CLAMP FOR             2.00       30.00           60.00           0.00             0.00
       100MM FLUID HEADS
125    SMALLRIG 2PCS 15MM BLACK ALUMINUM         1.00        2.00               2.00        0.00             0.00
       ALLOY ROD
126    BRIGHT TANGERINE FILTER TRAY FOR          2.00       30.00           60.00           0.00             0.00
       MISFIT 4 X 5.65 GRIPPER MODEL
       COMPATIBLE TRAY
127    BRIGHT TANGERINE CLAMP ADAPTER            2.00        4.00               8.00        0.00             0.00
       MATTE BOX (95MM)
128    BRIGHT TANGERINE ONE TRAY (MISFIT         2.00       70.00          140.00           0.00             0.00
       KICK)
129    BRIGHT TANGERINE BLACK HOLE 143MM V2      2.00        4.00               8.00        0.00             0.00
       RUBBER DONUT INCLUDES RETAINING
       RING FOR 138MM ROUND
130    SMALL HD MON-CINE7-RED TOUCHSCREEN        1.00      475.00          475.00           0.00             0.00
       ON-CAMERA MONITOR
131    LOT CONSISTING OF MISCELLANEOUS           1.00      325.00          325.00           0.00             0.00
       AUDIO/VIDEO ACCESSORIES
132    LOT CONSISTING OF MISCELLANEOUS           1.00       70.00           70.00           0.00             0.00
       BATTERY CHARGERS
                     Case 24-21209-LMI       Doc 147    Filed 12/19/24          Page 21 of 104
                                  SELLER REPORT OF LOTS SOLD                                             v9.19-COMaint-12




                                                                            CO #:                               1325
                                                                            Date:                        12/16/2024
                                                                            Page:                                    9


Lot#   Description                                Quantity     Unit Price       Ext.Price Comm/BuyBack        Expenses
133    LOT CONSISTING OF MISCELLANEOUS             1.00       100.00           100.00           0.00             0.00
       ITEMS CLAMPS, SUCTION CUPS, MAGNETS,
       AND ASSORTED SIZE TAPES
134    WOOD TOP WORK BENCH ON CASTERS              1.00       100.00           100.00           0.00             0.00
       INCLUDES ONE DRAWER MEASURING 59" X
       24", ADJUSTABLE HEIGHT
135    HEAVY DUTY METAL SHELVING UNITS             2.00         90.00          180.00           0.00             0.00
       MEASURING 6' X 6'
136    L-SHAPE DESK INCLUDES OFFICE ROLLING        1.00       150.00           150.00           0.00             0.00
       CHAIR AND (2) METAL THREE DRAWER
       ROLLING FILE CABINET AND METAL TRASH
       BIN
137    SMALLHD CINE 24" 4K HIGH BRIGHT PRO         1.00      3,500.00        3,500.00           0.00             0.00
       MONITOR
138    SAMSUNG 49" LCD MONITOR MODEL               1.00       550.00           550.00           0.00             0.00
       C49RG90SSN
139    PUGET SYSTEMS EDITING PC AMD RYZEN 9        1.00       800.00           800.00           0.00             0.00
       5950X 16-CORE PROCESSOR, 64GB
       MEMORY, GPU GEFORCE RTX3080 10 GB
       GDDRSX PCIE, HARD DRIVE REMOVED,
       WIRED LOGIC KEYBOARD (MONITOR NOT
       INCLUDED. SCREEN PRESENTS COMPUTER
       SPECS)
140    SONY DYNAMIC STEREO HEADPHONES              1.00         40.00           40.00           0.00             0.00
       MDR-7506
141    APC SMART UPS1500 BATTERY BACKUP            1.00       225.00           225.00           0.00             0.00
142    KRK SYSTEMS ROKIT 5 SPEAKERS                1.00       170.00           170.00           0.00             0.00
143    SIT ON IT SEATING BENCH                     1.00       180.00           180.00           0.00             0.00
144    RUBBERMAID ACTION PACKER TOTES              2.00         19.00           38.00           0.00             0.00
145    LOOP PHONE BOOTH MODEL CUBE (4              1.00      1,100.00        1,100.00           0.00             0.00
       PERSON MEETING POD) 85" W X 80 1/2" H X
       47" L
146    LOT CONSISTING OF CONFERENCE TABLE          1.00      1,400.00        1,400.00           0.00             0.00
       10' INCLUDES (10) HIGH BACK ROLLING
       CHAIRS
147    MICROSOFT SURFACE HUB 2S 50" 4K ZOOM        1.00       950.00           950.00           0.00             0.00
       SKYPE TELECONFERENCE PANEL W
       CAMERA
148    SAMSUNG 75" TV MODEL UN75TU8000F,           1.00       375.00           375.00           0.00             0.00
       INCLUDES REMOTE, MANTLE WALL MOUNT
       AND NO BASE
149    LOT CONSISTING OF ASSORTED NERF             1.00         30.00           30.00           0.00             0.00
       GUNS
                     Case 24-21209-LMI     Doc 147    Filed 12/19/24          Page 22 of 104
                                 SELLER REPORT OF LOTS SOLD                                            v9.19-COMaint-12




                                                                          CO #:                               1325
                                                                          Date:                        12/16/2024
                                                                          Page:                                  10


Lot#   Description                              Quantity     Unit Price       Ext.Price Comm/BuyBack        Expenses
150    3-DRAWER LATERAL FILE CABINETS            1.00       120.00           120.00           0.00             0.00
151    SWINGLINE PAPER CUTTER                    1.00         45.00           45.00           0.00             0.00
152    SHRED-IT SHREDDER BIN CONSOLE             2.00       110.00           220.00           0.00             0.00
153    MD MEDICAL DISPOSABLES SALIVA             1.00          3.00               3.00        0.00             0.00
       SCREEN
154    BROTHER P-TOUCH LABELERS                  2.00         25.00           50.00           0.00             0.00
155    CRICUT EXPLORE 3 INCLUDES TRANSFER        1.00       225.00           225.00           0.00             0.00
       TAPE, VINYL, CUTTING MATT AND TOOLS
156    CRICUT EASY PRESS 2                       1.00         70.00           70.00           0.00             0.00
157    AMAZON BASICS LAMINATOR                   1.00         16.00           16.00           0.00             0.00
158    LOT CONSISTING OF ASSORTED LABELS,        1.00          6.00               6.00        0.00             0.00
       VINYL STICKER PAPER, WHITE CARD
       STOCK
159    HIGH-TOP BAR CHAIRS                       3.00          7.00           21.00           0.00             0.00
160    VARIDESK PRO PLUS 36 MANUAL TABLE         1.00         35.00           35.00           0.00             0.00
       ADJUSTABLE DESK CONVERTER
161    VARIDESK PRO PLUS 36 MANUAL TABLE         1.00         25.00           25.00           0.00             0.00
       ADJUSTABLE DESK CONVERTER
162    VARIDESK PRO PLUS 36 MANUAL TABLE         1.00         80.00           80.00           0.00             0.00
       ADJUSTABLE DESK CONVERTER
163    VARIDESK PRO PLUS 36 MANUAL TABLE         1.00         60.00           60.00           0.00             0.00
       ADJUSTABLE DESK CONVERTER
164    LIGHTED SIGN                              1.00         20.00           20.00           0.00             0.00
165    MARBLE TOP SIDE TABLES                    2.00         70.00          140.00           0.00             0.00
166    SWIVEL STOOLS                             2.00       160.00           320.00           0.00             0.00
167    MICROSOFT SURFACE HUB 2S 50" 4K ZOOM      1.00      1,400.00        1,400.00           0.00             0.00
       SKYPE TELECONFERENCE PANEL W
       CAMERA
168    SQUARE POS INCLUDES C-PRINT 3 RECEIPT     1.00       325.00           325.00           0.00             0.00
       PRINTER
169    SAMSUNG 75" TV MODEL UN75TU8000F,         1.00       350.00           350.00           0.00             0.00
       INCLUDES REMOTE, MANTLE WALL MOUNT
       AND NO BASE, INCLUDES GOOGLE
       CHROMECAST MODEL GZRNL
170    WOODEN ROLLING SIDE TABLE INCLUDES        2.00         60.00          120.00           0.00             0.00
       HIDDEN STORAGE
171    WOODEN ROLLING SIDE TABLE INCLUDES        2.00         16.00           32.00           0.00             0.00
       HIDDEN STORAGE
172    ANTARCTIC STAR BEVERAGE AND WINE          1.00       200.00           200.00           0.00             0.00
       CENTER MODEL JC-128VEL-F
173    2-DRAWER LATERAL FILE CABINET             1.00       110.00           110.00           0.00             0.00
                     Case 24-21209-LMI        Doc 147    Filed 12/19/24        Page 23 of 104
                                  SELLER REPORT OF LOTS SOLD                                            v9.19-COMaint-12




                                                                           CO #:                               1325
                                                                           Date:                        12/16/2024
                                                                           Page:                                  11


Lot#   Description                                 Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
174    FABRIC SOFA                                  1.00      140.00          140.00           0.00             0.00
175    CREDENZA 4-DOOR STORAGE CABINET              1.00      250.00          250.00           0.00             0.00
       MEASURING 51" W
176    SIX STATION MODULAR OFFICE WORK              1.00      110.00          110.00           0.00             0.00
       STATIONS INCLUDES (7) 3-DRAWER
       ROLLING FILE CABINETS, (6) HIGH BACK
       OFFICE ROLLING CHAIRS
177    SIX STATION MODULAR OFFICE WORK              1.00       90.00           90.00           0.00             0.00
       STATIONS INCLUDES (6) 3-DRAWER
       ROLLING FILE CABINETS, (6) HIGH BACK
       OFFICE ROLLING CHAIRS
178    LOT CONSISTING OF ELECTRONICS                1.00      160.00          160.00           0.00             0.00
       INCLUDING (2) 24" LG MONITOR MODEL
       27BL85U-W, PLANTRONICS HEADSET,
       LOGITECH WEB CAM, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
179    LOT CONSISTING OF ELECTRONICS                1.00      140.00          140.00           0.00             0.00
       INCLUDING (2) 24" LG MONITOR MODEL
       27BL85U-W, PLANTRONICS HEADSET,
       LOGITECH WEB CAM, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
180    LOT CONSISTING OF ELECTRONICS                1.00      170.00          170.00           0.00             0.00
       INCLUDING (2) 24" LG MONITOR MODEL
       27BL85U-W, PLANTRONICS HEADSET,
       LOGITECH WEB CAM, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
181    LOT CONSISTING OF ELECTRONICS                1.00      130.00          130.00           0.00             0.00
       INCLUDING (2) 24" LG MONITOR MODEL
       27BL85U-W, PLANTRONICS HEADSET,
       LOGITECH WEB CAM, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
182    LOT CONSISTING OF ELECTRONICS                1.00      150.00          150.00           0.00             0.00
       INCLUDING (2) 24" LG MONITOR MODEL
       27BL85U-W, PLANTRONICS HEADSET,
       LOGITECH WEB CAM, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
183    LOT CONSISTING OF ELECTRONICS                1.00      150.00          150.00           0.00             0.00
       INCLUDING (2) 24" LG MONITOR MODEL
       27BL85U-W, PLANTRONICS HEADSET,
       LOGITECH WEB CAM, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
              Case 24-21209-LMI           Doc 147   Filed 12/19/24     Page 24 of 104
                                 SELLER REPORT OF LOTS SOLD                              v9.19-COMaint-12




                                                                  CO #:                         1325
                                                                  Date:                  12/16/2024
                                                                  Page:                            12


      KEYBOARD AND MOUSE
184   LOT CONSISTING OF ELECTRONICS             1.00     160.00       160.00      0.00           0.00
      INCLUDING (2) 24" LG MONITOR MODEL
      27BL85U-W, PLANTRONICS HEADSET,
      LOGITECH WEB CAM, MICROSOFT DOCKING
      STATION, AND WIRELESS MICROSOFT
      KEYBOARD AND MOUSE
185   MICROSOFT SURFACE STUDIO 2 CORE           1.00     900.00       900.00      0.00           0.00
      I7-7820HQ, 32GB RAM, 1TB STORAGE,
      INCLUDES PEN, AND SURFACE DIAL 3D
      INPUT
186   SAMSUNG 49" LCD MONITOR MODEL             1.00     550.00       550.00      0.00           0.00
      C49RG90SSN
187   LOT CONSISTING OF HIGH-TOP 10'            1.00     850.00       850.00      0.00           0.00
      CONFERENCE TABLE INCLUDES (10)
      CHAIRS
188   SAMSUNG 65" TV MODEL UN65TU8000F,         1.00     200.00       200.00      0.00           0.00
      INCLUDES REMOTE, MANTLE WALL MOUNT
      AND NO BASE, INCLUDES GOOGLE
      CHROMECAST MODEL GZRNL
189   LOOP PHONE BOOTH MODEL CUBE (4            1.00   2,000.00      2,000.00     0.00           0.00
      PERSON MEETING POD) 85" W X 80 1/2" H X
      47" L
190   CUSTOM-MADE (3) PIECE ROOM PORTABLE       1.00     160.00       160.00      0.00           0.00
      WALL DIVIDERS
191   CREDENZA 4-DOOR STORAGE CABINET           1.00     300.00       300.00      0.00           0.00
192   STAINLESS STEEL SOFT CLOSE TRASH CAN      3.00      90.00       270.00      0.00           0.00
193   SHRED-IT SHREDDER BIN CONSOLE             2.00      90.00       180.00      0.00           0.00
194   METAL STORAGE CABINET INCLUDES            2.00     160.00       320.00      0.00           0.00
      CONTENTS CONSISTING OF OFFICE
      SUPPLIES, TOILETRIES, PACKING SUPPLIES
195   CINTAS FIRST AID CENTER WALL MOUNTED      1.00     130.00       130.00      0.00           0.00
196   OFFICE DEPOT 4 DRAWER LATERAL FILE        1.00      60.00         60.00     0.00           0.00
      CABINET
197   ARIA FIBER OPTIC RACK MOUNT               1.00       6.00           6.00    0.00           0.00
      ENCLOSURE
198   RACK MOUNT BATTERY BACKUP                 1.00     130.00       130.00      0.00           0.00
199   HON 5-DRAWER LATERAL FILE CABINETS        2.00     110.00       220.00      0.00           0.00
200   HON 3-DRAWER LATERAL FILE CABINETS        2.00      35.00         70.00     0.00           0.00
201   LOT CONSISTING OF ASSORTED STEP           1.00       9.00           9.00    0.00           0.00
      STOOLS
202   APC SMART UPS C 1500 RACK MOUNT           1.00     200.00       200.00      0.00           0.00
      BATTERY BACKUP
                     Case 24-21209-LMI     Doc 147     Filed 12/19/24          Page 25 of 104
                                  SELLER REPORT OF LOTS SOLD                                            v9.19-COMaint-12




                                                                           CO #:                               1325
                                                                           Date:                        12/16/2024
                                                                           Page:                                  13


Lot#   Description                               Quantity     Unit Price       Ext.Price Comm/BuyBack        Expenses
203    APC SMART UPS C 1500 RACK MOUNT            1.00       140.00           140.00           0.00             0.00
       BATTERY BACKUP
204    CISCO MERAKI MX450 MANAGED SECURITY        1.00       170.00           170.00           0.00             0.00
       APPLIANCE
205    CISCO MERAKI MS210-48 MANAGED              1.00       190.00           190.00           0.00             0.00
       NETWORK SWITCH
206    CISCO MERAKI MS390-48UX-HW SWITCH          1.00       250.00           250.00           0.00             0.00
207    CISCO MERAKI MS390-48UX-HW SWITCH          1.00       250.00           250.00           0.00             0.00
208    CHATSWORTH PRODUCTS SERVER RACK            1.00         25.00           25.00           0.00             0.00
       ONLY
209    EATON 9PX 5000 RACK TOWER UPS WITH         1.00       800.00           800.00           0.00             0.00
       (1) EATON 9PX PPDM, (2) EATON 9PX EBM
       RACK TOWER UPS AND (2) BATTERY PACK
       EXTENSION CABLES
213    CISCO MERAKI MS210-48LP MANAGED            1.00       180.00           180.00           0.00             0.00
       NETWORK SWITCH
214    CISCO MERAKI MX250 MANAGED SECURITY        1.00       180.00           180.00           0.00             0.00
       APPLIANCE
215    LG 27" MONITOR                             1.00         70.00           70.00           0.00             0.00
216    APC SERVER RACK ONLY                       1.00          1.00               1.00        0.00             0.00
217    LG 86" TR3BF-B SERIES IR MULTI-TOUCH       1.00      1,000.00        1,000.00           0.00             0.00
       POINT UHD IPS DIGITAL DISPLAY, MODEL
       86TR3BF-B, INCLUDES (2) PENS
218    MICROSOFT SURFACE MODEL 1866               1.00       275.00           275.00           0.00             0.00
       FACTORY RESET, 512GB , INCLUDES
       POWER SUPPLY
219    MICROSOFT SURFACE HUB 2S 50" 4K ZOOM       1.00      1,100.00        1,100.00           0.00             0.00
       SKYPE TELECONFERENCE PANEL W
       CAMERA
220    CREDENZA 4-DOOR STORAGE CABINET            1.00       375.00           375.00           0.00             0.00
221    LOT CONSISTING OF CONFERENCE TABLE         1.00       950.00           950.00           0.00             0.00
       10' INCLUDES (10) HIGH BACK ROLLING
       CHAIRS
222    COLZER AIR PURIFIER MODEL COLZER 1556      1.00       130.00           130.00           0.00             0.00
223    LOOP PHONE BOOTH MODEL CUBE (4             1.00      2,000.00        2,000.00           0.00             0.00
       PERSON MEETING POD) 85" W X 80 1/2" H X
       47" L
224    LOOP PHONE BOOTH MODEL CUBE (4             1.00      2,000.00        2,000.00           0.00             0.00
       PERSON MEETING POD) 85" W X 80 1/2" H X
       47" L
225    DOUBLE PEDESTAL DESK INCLUDES              1.00       170.00           170.00           0.00             0.00
       OFFICE ROLLING CHAIR
                     Case 24-21209-LMI     Doc 147    Filed 12/19/24        Page 26 of 104
                                 SELLER REPORT OF LOTS SOLD                                          v9.19-COMaint-12




                                                                        CO #:                               1325
                                                                        Date:                        12/16/2024
                                                                        Page:                                  14


Lot#   Description                              Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
226    L-SHAPE DESK INCLUDES OFFICE ROLLING      1.00      325.00          325.00           0.00             0.00
       CHAIR INCLUDES (1) TOW DRAWER
       ROLLING CABINET
227    L-SHAPE DESK INCLUDES OFFICE ROLLING      1.00      325.00          325.00           0.00             0.00
       CHAIR INCLUDES (1) TOW DRAWER
       ROLLING CABINET
228    L-SHAPE DESK INCLUDES OFFICE ROLLING      1.00      250.00          250.00           0.00             0.00
       CHAIR INCLUDES (1) TOW DRAWER
       ROLLING CABINET
229    L-SHAPE DESK INCLUDES OFFICE ROLLING      1.00      225.00          225.00           0.00             0.00
       CHAIR INCLUDES (1) TOW DRAWER
       ROLLING CABINET
230    ROUND 30" TABLE                           1.00       25.00           25.00           0.00             0.00
231    DINETTE TABLE INCLUDES (4) CHAIRS         1.00      110.00          110.00           0.00             0.00
       MEASURING 42" D X 29 1/2" H
232    LOT CONSISTING OF ELECTRONICS             1.00      150.00          150.00           0.00             0.00
       INCLUDING 27" LG MONITOR MODEL
       27BL85U-W, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
233    LOT CONSISTING OF ELECTRONICS             1.00      150.00          150.00           0.00             0.00
       INCLUDING 27" LG MONITOR MODEL
       27BL85U-W, MICROSOFT DOCKING
       STATION, AND WIRELESS MICROSOFT
       KEYBOARD AND MOUSE
234    LOT CONSISTING OF CONTENTS OF             1.00       60.00           60.00           0.00             0.00
       JANITORIAL ROOM INCLUDING MOP
       BUCKETS, METRO RACK, PLASTIC UTILITY
       CART, CLEANING SUPPLIES AND MORE,
       (NOTE WATER HEATER NOT INCLUDED)
235    CUSTOM-MADE WOOD ROOM WALL                1.00        2.00               2.00        0.00             0.00
       DIVIDERS
236    SUNNYGLADE MULTI-PURPOSE POP-UP          11.00        4.00           44.00           0.00             0.00
       SAFETY CONES
238    HON 2-DRAWER LATERAL FILE CABINET         2.00       60.00          120.00           0.00             0.00
       INCLUDES CONTENTS
239    5-DRAWER LATERAL FILE CABINET             1.00       16.00           16.00           0.00             0.00
       INCLUDES CONTENTS
240    2-DOOR METAL STORAGE CABINET              1.00       80.00           80.00           0.00             0.00
241    FOOD GRADE METRO RACKS 5' INCLUDES        5.00       45.00          225.00           0.00             0.00
       CONTENTS CONSISTING OF PLASTIC BINS,
       DISH TRAYS, CLEANING SUPPLIES, BOWLS,
       CONDIMENTS SOME MAY BE EXPIRED,
       GLOVES, SPRAY BOTTLES AND MORE
                     Case 24-21209-LMI    Doc 147    Filed 12/19/24        Page 27 of 104
                                 SELLER REPORT OF LOTS SOLD                                         v9.19-COMaint-12




                                                                       CO #:                               1325
                                                                       Date:                        12/16/2024
                                                                       Page:                                  15


Lot#   Description                             Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
242    KRATOS STAINLESS STEEL 3                 1.00      375.00          375.00           0.00             0.00
       COMPARTMENT SINK INCLUDES SPRAYER
243    STAINLESS STEEL PREP TABLE INCLUDES      1.00      275.00          275.00           0.00             0.00
       SINK MEASURING 6' W
244    CUSTOM-MADE WOOD ROOM WALL               2.00       12.00           24.00           0.00             0.00
       DIVIDERS ON CASTERS MEASURING 79" H X
       69" W
245    CUSTOM-MADE WOOD ROOM WALL               2.00       80.00          160.00           0.00             0.00
       DIVIDERS ON CASTERS MEASURING 100" H
       X 48" W
246    FOOD GRADE METRO RACKS 5' INCLUDES       3.00      110.00          330.00           0.00             0.00
       CONTENTS CONSISTING OF CAN GOODS,
       CONDIMENTS, CRISPY FRYMIX, DRESSING,
       SOME ITEMS MAY BE EXPIRED, PREMIUM
       PEANUT OIL, AND MORE
247    FOOD GRADE METRO RACKS 5' INCLUDES       4.00      100.00          400.00           0.00             0.00
       CONTENTS CONSISTING OF DISPOSABLE
       RESTAURANT SUPPLIES, FOOD
       CONTAINERS, CUP LIDS, CUPS, AND MORE
248    CHAIN LINK SECURITY CAGE MEASURING       1.00      350.00          350.00           0.00             0.00
       15.5' W X 11' L X 10' H
249    HIGH TOP MODERN BAR STOOLS               9.00        9.44           84.96           0.00             0.00
250    MATTHEW STUDIO 40" C-STAND W/SLIDING     2.00      180.00          360.00           0.00             0.00
       LEG
251    MATTHEW STUDIO 40" C-STAND W/SLIDING     2.00      170.00          340.00           0.00             0.00
       LEG
252    AMERICAN C-STAND                         1.00       80.00           80.00           0.00             0.00
253    CORDURA WEIGHTED BAG                     8.00       14.00          112.00           0.00             0.00
254    APUTURE LIGHT DOME II SOFTBOX            1.00       70.00           70.00           0.00             0.00
255    GREEN SCREEN BACKDROPS MEASURING         2.00       30.00           60.00           0.00             0.00
       10' W
256    ALBA METAL COAT RACK                     1.00       16.00           16.00           0.00             0.00
257    ASSORTED OFFICE ROLLING CHAIRS           7.00        7.00           49.00           0.00             0.00
258    CLIENT CHAIRS                            2.00       11.00           22.00           0.00             0.00
259    CLIENT CHAIRS                            8.00       35.00          280.00           0.00             0.00
260    STACKABLE CHAIRS                        12.00       25.00          300.00           0.00             0.00
261    STACKABLE CHAIRS                         6.00       27.57          165.42           0.00             0.00
262    STACKABLE CHAIRS                         8.00       10.62           84.96           0.00             0.00
263    STACKABLE CHAIRS                        18.00       19.00          342.00           0.00             0.00
264    ROUND 30" TABLE                          1.00       40.00           40.00           0.00             0.00
265    LOT CONSISTING OF (6) TABLE TOPS AND     1.00       35.00           35.00           0.00             0.00
       (3) BASES DISASSEMBLED, (NOTE NO
       SCREWS)
                     Case 24-21209-LMI     Doc 147      Filed 12/19/24           Page 28 of 104
                                  SELLER REPORT OF LOTS SOLD                                              v9.19-COMaint-12




                                                                             CO #:                               1325
                                                                             Date:                        12/16/2024
                                                                             Page:                                  16


Lot#   Description                                Quantity      Unit Price       Ext.Price Comm/BuyBack        Expenses
266    COMMERCIAL VIDEO TRIPOD DOLLY               1.00          40.00           40.00           0.00             0.00
267    LOT CONSISTING OF PATIO FURNITURE SET       1.00        500.00           500.00           0.00             0.00
       (1) TABLE AND (4) CHAIRS
268    LOT CONSISTING OF CONFERENCE TABLE          1.00       1,100.00        1,100.00           0.00             0.00
       8' INCLUDES (8) HIGH BACK ROLLING
269    AMQ ELECTRICAL ADJUSTABLE DESK              1.00        250.00           250.00           0.00             0.00
       MEASURING 6' X 30"
270    PLASTICS SAFETY BARRICADE                   1.00          45.00           45.00           0.00             0.00
       COLLAPSABLE
271    BAKERS RACKS                                3.00          60.00          180.00           0.00             0.00
272    CONVERSATIONAL FURNITURE (5) PIECE          1.00        850.00           850.00           0.00             0.00
       SET CONSISTING OF (4) FABRIC ARM
       CHAIRS, (1) COFFEE TABLE
273    SIT ON IT SEATING BENCH 6' W                2.00        375.00           750.00           0.00             0.00
274    SIT ON IT SEATING BENCH 6' W                2.00        375.00           750.00           0.00             0.00
275    CONVERSATIONAL FURNITURE (5) PIECE          1.00        950.00           950.00           0.00             0.00
       SET CONSISTING OF (4) FABRIC ARM
       CHAIRS, (1) COFFEE TABLE
276    CONVERSATIONAL FURNITURE (3) PIECE          1.00        600.00           600.00           0.00             0.00
       SET CONSISTING OF (2) FABRIC ARM
       CHAIRS, (1) COFFEE TABLE
277    DINETTE TABLE INCLUDES (4) CHAIRS           1.00        250.00           250.00           0.00             0.00
       MEASURING 36" R
278    DINETTE TABLE INCLUDES (4) CHAIRS           1.00        325.00           325.00           0.00             0.00
       MEASURING 36" R
279    SIT ON IT SEATING BENCH 6' W                3.00          80.00          240.00           0.00             0.00
280    STRING LIGHTING APPROX. 75' L               1.00          45.00           45.00           0.00             0.00
281    CUSTOM-BUILT DEMO KITCHEN CONTAINER         1.00      32,000.00       32,000.00           0.00             0.00
       20' X 8' FULLY EQUIPPED AND READY FOR
       IMMEDIATE USE. 160 SQ. FT., FEATURES (1)
       BLODGET SHO-100-G STANDARD FULL SIZE
       GAS CONVECTION OVEN, (1) GARLAND
       M45R MASTER SERIES HEAVY DUTY GAS
       RANGE 34", (1) TOASTMASTER PRO-SERIES
       TMGM36 GAS COUNTERTOP GRIDDLE 36" W
       MANUAL CONTROLS, (1) REGENCY 36"
       STAINLESS STEEL EQUIPMENT STAND
       MODEL 600ES3036G, (1) AMERICAN RANGE
       AF35/50 GAS FRYER, (1) TRUE
       REFRIGERATION TSSU-48-12-HC SANDWICH
       / SALAD PREP TABLE INCLUDES
       REFRIGERATED BASE, (1) CAPTIVEAIRE
       HOOD SYSTEM MODEL 5418SND-2, 12'
       STAINLESS STEEL SLOPED WALL CANOPY
       HOOD, (1) ANSUL R-102 RESTAURANT FIRE
              Case 24-21209-LMI           Doc 147   Filed 12/19/24      Page 29 of 104
                                 SELLER REPORT OF LOTS SOLD                               v9.19-COMaint-12




                                                                    CO #:                        1325
                                                                    Date:                 12/16/2024
                                                                    Page:                           17


      SUPPRESSION SYSTEM, (1) REGENCY HAND
      SINK MODEL 600HS12, (1) REGENCY 3
      COMPARTMENT UTILITY SINK MODEL
      600S31014, (1) EEMAX MODEL EMT2.5 MINI
      TANK WATER HEATER, (1) STAINLESS
      STEEL 4' SHELVING UNIT INCLUDES
      CONTENTS INCLUDED. ALL APPLIANCES
      APPEARS TO BE NEW / NOT USED. THIS
      DEMO KITCHEN IS DESIGNED FOR
      VERSATILITY AND FUNCTIONALITY,
      FEATURING HIGH-QUALITY APPLIANCES
      AND MATERIALS.
282   CUSTOM-BUILT DEMO KITCHEN CONTAINER        1.00   27,500.00   27,500.00      0.00           0.00
      20' X 8' FULLY EQUIPPED AND READY FOR
      IMMEDIATE USE. 160 SQ. FT., FEATURES (1)
      BLODGET SHO-100-G STANDARD FULL SIZE
      GAS CONVECTION OVEN, (1) GARLAND
      M45R MASTER SERIES HEAVY DUTY GAS
      RANGE 34", (1) TOASTMASTER PRO-SERIES
      TMGM36 GAS COUNTERTOP GRIDDLE 36" W
      MANUAL CONTROLS, (1) REGENCY 36"
      STAINLESS STEEL EQUIPMENT STAND
      MODEL 600ES3036G, (1) AMERICAN RANGE
      AF35/50 GAS FRYER, (1) TRUE
      REFRIGERATION TSSU-48-12-HC SANDWICH
      / SALAD PREP TABLE INCLUDES
      REFRIGERATED BASE, (1) CAPTIVEAIRE
      HOOD SYSTEM MODEL 5418SND-2, 12'
      STAINLESS STEEL SLOPED WALL CANOPY
      HOOD, (1) ANSUL R-102 RESTAURANT FIRE
      SUPPRESSION SYSTEM, (1) REGENCY HAND
      SINK MODEL 600HS12, (1) REGENCY 3
      COMPARTMENT UTILITY SINK MODEL
      600S31014, (1) EEMAX MODEL EMT2.5 MINI
      TANK WATER HEATER, (1) SERVIT 48"
      STRIP WARMER INCLUDES SINGLE TOGGLE
      AND STAINLESS STEEL WARMING SHELF ,
      (2) STAINLESS STEEL 5' PREP TABLES, (1)
      STAINLESS STEEL 2' PREP TABLE, (1)
      TOPKITCH ELECTRIC FRYER MODEL
      EF-12L-2, (1) HATCO PORTABLE FRY
      HOLDING STATION, SAMSUNG 32" TV, (1)
      MICROTOUCH 21.5" LCD ALL-IN-ONE
      SYSTEM POINT OF SALE COMPUTER
      IC-215P-AA2 ON DESK MOUNT, (1) APPLE
      IPAD ON WALI MOUNT, (1) STAR MICRONICS
      MODEL TSP650 RECEIPT PRINTER, (1)
      MOUNTED NAPKIN DISPENSER. ALL
      APPLIANCES APPEARS TO BE NEW / NOT
              Case 24-21209-LMI         Doc 147   Filed 12/19/24      Page 30 of 104
                               SELLER REPORT OF LOTS SOLD                               v9.19-COMaint-12




                                                                  CO #:                        1325
                                                                  Date:                 12/16/2024
                                                                  Page:                           18


      USED. THIS DEMO KITCHEN IS DESIGNED
      FOR VERSATILITY AND FUNCTIONALITY,
      FEATURING HIGH-QUALITY APPLIANCES
      AND MATERIALS.
283   CUSTOM-BUILT DEMO KITCHEN CONTAINER      1.00   43,000.00   43,000.00      0.00           0.00
      40' X 8' FULLY EQUIPPED AND READY FOR
      IMMEDIATE USE. 320 SQ. FT. , DUAL
      MATCHING KITCHEN EACH FEATURES (1)
      BLODGET SHO-100-G STANDARD FULL SIZE
      GAS CONVECTION OVEN, (1) GARLAND
      M45R MASTER SERIES HEAVY DUTY GAS
      RANGE 34", (1) TOASTMASTER PRO-SERIES
      TMGM36 GAS COUNTERTOP GRIDDLE 36" W
      MANUAL CONTROLS, (1) REGENCY 36"
      STAINLESS STEEL EQUIPMENT STAND
      MODEL 600ES3036G, (1) AMERICAN RANGE
      AF35/50 GAS FRYER, (1) TRUE
      REFRIGERATION TSSU-48-12-HC SANDWICH
      / SALAD PREP TABLE INCLUDES
      REFRIGERATED BASE, (1) CAPTIVEAIRE
      HOOD SYSTEM MODEL 5418SND-2, 12'
      STAINLESS STEEL SLOPED WALL CANOPY
      HOOD, (1) ANSUL R-102 RESTAURANT FIRE
      SUPPRESSION SYSTEM, (1) REGENCY HAND
      SINK MODEL 600HS12, (1) REGENCY 3
      COMPARTMENT UTILITY SINK MODEL
      600S31014, (1) EEMAX MODEL EMT2.5 MINI
      TANK WATER HEATER, INCLUDES A
      SHARED DOUBLE DOOR LEER WALK-IN
      COOLER MEASURING 8' W X 7' L X 90" H
      INCLUDES TURBO AIR REFRIGERATION
      MODEL ADR060AEOM, IN BETWEEN BOTH
      KITCHENS. ALL APPLIANCES APPEARS TO
      BE NEW / NOT USED. THIS DEMO KITCHEN
      IS DESIGNED FOR VERSATILITY AND
      FUNCTIONALITY, FEATURING HIGH-QUALITY
      APPLIANCES AND MATERIALS.
284   CUSTOM-BUILT DEMO KITCHEN CONTAINER      1.00   36,000.00   36,000.00      0.00           0.00
      40' X 8' FULLY EQUIPPED AND READY FOR
      IMMEDIATE USE. 320 SQ. FT. , DUAL
      MATCHING KITCHEN EACH FEATURES (1)
      BLODGET SHO-100-G STANDARD FULL SIZE
      GAS CONVECTION OVEN, (1) GARLAND
      M45R MASTER SERIES HEAVY DUTY GAS
      RANGE 34", (1) TOASTMASTER PRO-SERIES
      TMGM36 GAS COUNTERTOP GRIDDLE 36" W
      MANUAL CONTROLS, (1) REGENCY 36"
      STAINLESS STEEL EQUIPMENT STAND
      MODEL 600ES3036G, (1) AMERICAN RANGE
              Case 24-21209-LMI         Doc 147   Filed 12/19/24      Page 31 of 104
                               SELLER REPORT OF LOTS SOLD                               v9.19-COMaint-12




                                                                  CO #:                        1325
                                                                  Date:                 12/16/2024
                                                                  Page:                           19


      AF35/50 GAS FRYER, (1) TRUE
      REFRIGERATION TSSU-48-12-HC SANDWICH
      / SALAD PREP TABLE INCLUDES
      REFRIGERATED BASE, (1) CAPTIVEAIRE
      HOOD SYSTEM MODEL 5418SND-2, 12'
      STAINLESS STEEL SLOPED WALL CANOPY
      HOOD, (1) ANSUL R-102 RESTAURANT FIRE
      SUPPRESSION SYSTEM, (1) REGENCY HAND
      SINK MODEL 600HS12, (1) REGENCY 3
      COMPARTMENT UTILITY SINK MODEL
      600S31014, (1) EEMAX MODEL EMT2.5 MINI
      TANK WATER HEATER, INCLUDES A
      SHARED DOUBLE DOOR LEER WALK-IN
      COOLER MEASURING 8' W X 7' L X 90" H
      INCLUDES TURBO AIR REFRIGERATION
      MODEL ADR060AEOM, IN BETWEEN BOTH
      KITCHENS. ALL APPLIANCES APPEARS TO
      BE NEW / NOT USED. THIS DEMO KITCHEN
      IS DESIGNED FOR VERSATILITY AND
      FUNCTIONALITY, FEATURING HIGH-QUALITY
      APPLIANCES AND MATERIALS.
285   CUSTOM-BUILT DEMO KITCHEN CONTAINER      1.00   46,500.00   46,500.00      0.00           0.00
      40' X 8' FULLY EQUIPPED AND READY FOR
      IMMEDIATE USE. 320 SQ. FT. , DUAL
      MATCHING KITCHEN EACH FEATURES (1)
      BLODGET SHO-100-G STANDARD FULL SIZE
      GAS CONVECTION OVEN, (1) GARLAND
      M45R MASTER SERIES HEAVY DUTY GAS
      RANGE 34", (1) TOASTMASTER PRO-SERIES
      TMGM36 GAS COUNTERTOP GRIDDLE 36" W
      MANUAL CONTROLS, (1) REGENCY 36"
      STAINLESS STEEL EQUIPMENT STAND
      MODEL 600ES3036G, (1) AMERICAN RANGE
      AF35/50 GAS FRYER, (1) TRUE
      REFRIGERATION TSSU-48-12-HC SANDWICH
      / SALAD PREP TABLE INCLUDES
      REFRIGERATED BASE, (1) CAPTIVEAIRE
      HOOD SYSTEM MODEL 5418SND-2, 12'
      STAINLESS STEEL SLOPED WALL CANOPY
      HOOD, (1) ANSUL R-102 RESTAURANT FIRE
      SUPPRESSION SYSTEM, (1) REGENCY HAND
      SINK MODEL 600HS12, (1) REGENCY 3
      COMPARTMENT UTILITY SINK MODEL
      600S31014, (1) EEMAX MODEL EMT2.5 MINI
      TANK WATER HEATER, INCLUDES A
      SHARED DOUBLE DOOR LEER WALK-IN
      COOLER MEASURING 8' W X 7' L X 90" H
      INCLUDES TURBO AIR REFRIGERATION
      MODEL ADR060AEOM, IN BETWEEN BOTH
              Case 24-21209-LMI         Doc 147   Filed 12/19/24      Page 32 of 104
                               SELLER REPORT OF LOTS SOLD                               v9.19-COMaint-12




                                                                  CO #:                        1325
                                                                  Date:                 12/16/2024
                                                                  Page:                           20


      KITCHENS. ALL APPLIANCES APPEARS TO
      BE NEW / NOT USED. THIS DEMO KITCHEN
      IS DESIGNED FOR VERSATILITY AND
      FUNCTIONALITY, FEATURING HIGH-QUALITY
      APPLIANCES AND MATERIALS. FULLY
      EQUIPPED AND READY FOR IMMEDIATE
      USE.
286   CUSTOM-BUILT DEMO KITCHEN CONTAINER      1.00   47,500.00   47,500.00      0.00           0.00
      40' X 8' FULLY EQUIPPED AND READY FOR
      IMMEDIATE USE. 320 SQ. FT. , DUAL
      MATCHING KITCHEN EACH FEATURES (1)
      BLODGET SHO-100-G STANDARD FULL SIZE
      GAS CONVECTION OVEN, (1) GARLAND
      M45R MASTER SERIES HEAVY DUTY GAS
      RANGE 34", (1) TOASTMASTER PRO-SERIES
      TMGM36 GAS COUNTERTOP GRIDDLE 36" W
      MANUAL CONTROLS, (1) REGENCY 36"
      STAINLESS STEEL EQUIPMENT STAND
      MODEL 600ES3036G, (1) AMERICAN RANGE
      AF35/50 GAS FRYER, (1) TRUE
      REFRIGERATION TSSU-48-12-HC SANDWICH
      / SALAD PREP TABLE INCLUDES
      REFRIGERATED BASE, (***NOTE ONE
      KITCHEN DOES NOT HAVE (1) TRUE
      REFRIGERATION TSSU-48-12-HC SANDWICH
      / SALAD PREP TABLE INCLUDES
      REFRIGERATED BASE***), (1) CAPTIVEAIRE
      HOOD SYSTEM MODEL 5418SND-2, 12'
      STAINLESS STEEL SLOPED WALL CANOPY
      HOOD, (1) ANSUL R-102 RESTAURANT FIRE
      SUPPRESSION SYSTEM, (1) REGENCY HAND
      SINK MODEL 600HS12, (1) REGENCY 3
      COMPARTMENT UTILITY SINK MODEL
      600S31014, (1) EEMAX MODEL EMT2.5 MINI
      TANK WATER HEATER, INCLUDES A
      SHARED DOUBLE DOOR LEER WALK-IN
      COOLER MEASURING 8' W X 7' L X 90" H
      INCLUDES TURBO AIR REFRIGERATION
      MODEL ADR060AEOM, IN BETWEEN BOTH
      KITCHENS. ALL APPLIANCES APPEARS TO
      BE NEW / NOT USED. THIS DEMO KITCHEN
      IS DESIGNED FOR VERSATILITY AND
      FUNCTIONALITY, FEATURING HIGH-QUALITY
      APPLIANCES AND MATERIALS.
287   2022 FORD F-59, 20' FOOD TRUCK           1.00 116,000.00 116,000.00        0.00           0.00
      CONVERSION (NEW) VIN:
      1F66F5KN1N0A09881
      ODOMETER READS: 1,479
      TITLE ON-HAND, NEW STATE OF THE ART 20
        Case 24-21209-LMI            Doc 147   Filed 12/19/24   Page 33 of 104
                          SELLER REPORT OF LOTS SOLD                             v9.19-COMaint-12




                                                            CO #:                       1325
                                                            Date:                12/16/2024
                                                            Page:                          21


FOOT FOOD TRUCK
CUSTOM MADE BY “FOOD CART USA, MIAMI
FLORIDA”, ONE OF THE LEADING
MANUFACTURERS OF FOOD TRUCKS IN
THE NATION. PURCHASED IN NOVEMBER
OF 2022 FOR $339,800.00. FULLY EQUIPPED
TO PRODUCE AN ULTRA WIDE VARIETY OF
MENU ITEMS. INCLUDES FLORIDA HEALTH
DEPARTMENT LICENSE.



FOOD TRUCK EQUIPMENT AND DETAILS:

• 2022 FORD F-59, 20 FOOT TRUCK (NEW
NEVER PUT INTO SERVICE)
• TREAD BRITE DIAMOND PLATE FLOORING

• OPENING FOR RV DOOR

• STAINLESS STEEL BEHIND COOKING
EQUIPMENT

• WALLS AND CEILING WHITE ALUMINUM

• ¾ PRESSURE TREATED WOOD FLOORING
UNDER TREAD BRIGHT DIAMOND
FLOORING

• REINFORCE OPENING FOR TWO A/C
VENTS

• REINFORCE FOR ONE WINDOW



STANDARD EQUIPMENT:

• ONE 36" RV DOOR WITH SCREEN DOOR

• ONE CONCESSION WINDOW 64” X 36”
WITH GLASS AND SCREEN

• DOORS/STORAGE SPACE UNDER
COUNTERS

• LP INSTALLATION/WITH INDEPENDENT
SHUT OFF VALVES PER EQUIPMENT AND
EXTERIOR SHUT OFF VALVES

• INTERIOR COUNTER WITH SLIDE DOORS
FOR STORAGE
         Case 24-21209-LMI             Doc 147   Filed 12/19/24   Page 34 of 104
                            SELLER REPORT OF LOTS SOLD                             v9.19-COMaint-12




                                                              CO #:                       1325
                                                              Date:                12/16/2024
                                                              Page:                          22



• NON EXPOSED GAS LINES AND PVC LINES

• INSULATION

• ONE EXHAUST FAN IN HOOD WITH SPEED
CONTROL

• TWO LP TANK (UNDERNEATH) (1) ON LEFT
SIDE AND (1) ON RIGHT SIDE
ELECTRICAL PACKAGE INCLUDING:

• BREAKER BOX

• THREE DOUBLE PORT OUTLETS

• TWO AIR CONDITIONING UNITS, 13,500
BTU

• FIVE TO SIX LED LIGHTS

• ONE EXTERIOR GFI OUTLET

• ONE 25 KW LP DIESEL GENERATOR

• ONE DIESEL TANK (APPROX. 20 GALLON)
GENERATOR:

• POWERTECH GENERATORS MODEL
PTI-25SI-T4F PRIME POWER OUTPUT:
25,000W


• LIQUID-COOLED, 4 CYLINDER, DIESEL
• ENGINE MOUNTED DIESEL OXIDATION
CATALYST

• 60HZ, 1 PHASE

• BRUSH-LESS GENERATOR

• AUTOMATIC VOLTAGE REGULATOR

• SAFETY SHUTDOWNS FOR HIGH TEMP
AND LOW OIL PRESSURE

• OUTPUT VOLTAGE: 120VAC/240VAC

• AMPERAGE: 208A @ 100VAC (104A @
240VAC)
        Case 24-21209-LMI             Doc 147   Filed 12/19/24   Page 35 of 104
                           SELLER REPORT OF LOTS SOLD                             v9.19-COMaint-12




                                                             CO #:                       1325
                                                             Date:                12/16/2024
                                                             Page:                          23



• FUEL CONSUMPTION: 1.96GPH AT FULL
LOAD

• WEIGHT: 1126 LBS, SOUND: 72DB @ 7
METERS
PLUMBING:

• ON DEMAND WATER PUMP

• ON DEMAND WATER HEATER

• ONE 30-GAL FRESHWATER TANK

• ONE 46-GALLON GREY WATER TANK WITH
DRAIN VALVE

• ONE 3 COMPARTMENT SINK WITH TWO
DRAINBOARDS AND FAUCETS (15" X 15" X
12"D W/ 2 DRAIN)

• ONE HAND WASH SINK WITH FAUCET AND
SPLASH GUARD (WIDTH 12”, DEPTH 16”,
HEIGHT 12 ¼”)

• ONE EEMAX MODEL EMT2.5 MINI TANK
WATER HEATER
COOKING EQUIPMENT:

• ONE 21” ALTO SHAAM OVEN VMC-H3 208
-240 VOLTS, 1 PHASE, 60HZ

• ONE 24" FLAT GRIDDLE PROPANE GAS
ROYAL RSMG-24

• TWO 16" DEEP FRYER PROPANE GAS
ROYAL, MODEL RFT-50

• TWO 27" PRODUCT HOLDING BIN PRINCE
CASTLE, MODEL DHB2SS-27A SINGLE-SIDED
2 SHELF / 6 PAN
DEDICATED HOLDING BIN - 120V, 1320W

• ONE 19.25” MICROWAVE AMANA RC2252 -
2200 WATTS

• ONE 14.6 ELECTRIC STEAM TABLE NEMCO,
MODEL 6055A-CW

• ONE 48" STRIP WARMER WITH SINGLE
                Case 24-21209-LMI             Doc 147   Filed 12/19/24     Page 36 of 104
                                    SELLER REPORT OF LOTS SOLD                               v9.19-COMaint-12




                                                                       CO #:                        1325
                                                                       Date:                 12/16/2024
                                                                       Page:                           24


      TOGGLE CONTROL - 120V, 1,200W
      REFRIGERATION:

      • TWO 48.5” REFRIGERATED PREP TABLE
      TRUE, MODEL TSSU-48-12-HC

      • ONE 27" UPRIGHT REFRIGERATOR TRUE,
      MODEL T-19-HC

      • ONE 36" UNDERCOUNTER REFRIGERATOR
      TRUE, MODEL TUC-36-HC

      • ONE 24" UNDERCOUNTER FREEZER TRUE,
      MODEL TUC-24F-HC
      OPTIONAL EQUIPMENT:
      STAINLESS STEEL UPGRADE

      • ONE 54” BIRD CAGE FOR WARMING AREA
      (AS PER LAYOUT)

      • TWO 24” STAINLESS STEEL SHELVES

      • ONE SHELVE FOR MICROWAVE
      STAINLESS STEEL

      • EXTERIOR SPOTLIGHT (TWO UNITS)

      • FIRE EXTINGUISHER
      • HAND SOAP AUTOMATIC DISPENSER

      • PAPER TOWEL AUTOMATIC DISPENSER

      • FIRST AID KIT
289   NORLAKE WALK-IN COOLER / FREEZER               1.00   8,500.00     8,500.00     0.00           0.00
      MEASURING 18' W X 11'.5" L X 8'.5", (***NOTE
      BUYER MUST USED LICENSE ELECTRICIAN
      TO DISCONNECT AND CAP TO CODE***)
290   FOOD GRADE METRO RACKS VARIOUS                 8.00      45.00      360.00      0.00           0.00
      SIZES
291   ALUMINUM DUNNAGE RACKS                         2.00      35.00        70.00     0.00           0.00
292   BARSKA 1.6/2 CB. FT. 2-LOCK KEYPAD             1.00    400.00       400.00      0.00           0.00
      DEPOSITORY SAFE, INCLUDES KEYS, (NEW,
      NEVER USED)
293   TENNANT T7 RIDE-ON DISK FLOOR                  1.00   7,741.15     7,741.15     0.00           0.00
      SCRUBBER
294   SAMSUNG 65" TV MODEL UN65TU8000F,              1.00    375.00       375.00      0.00           0.00
      INCLUDES REMOTE, NO BASE, WALL
      MOUNT HINGES BUT NO BRACKET, TESTED
              Case 24-21209-LMI           Doc 147   Filed 12/19/24    Page 37 of 104
                                  SELLER REPORT OF LOTS SOLD                            v9.19-COMaint-12




                                                                  CO #:                        1325
                                                                  Date:                 12/16/2024
                                                                  Page:                           25


      AND POWERS ON
295   SAMSUNG 75" TV MODEL UN75TU8000F,         1.00     275.00      275.00      0.00           0.00
      INCLUDES REMOTE, NO BASE, WALL
      MOUNT HINGES BUT NO BRACKET, NO
      POWER CORD, CRACK IN SCREEN
296   SAMSUNG CRYSTAL UHD 75" TV MODEL          1.00     400.00      400.00      0.00           0.00
      UN75TU8000F, NO BASE, NO POWER CORD
      NOT TESTED
297   LG 86" TR3BF-B SERIES IR MULTI-TOUCH      1.00     550.00      550.00      0.00           0.00
      POINT UHD IPS DIGITAL DISPLAY, MODEL
      86TR3BF-B, INCLUDES (2) PENS, WALL
      MOUNT INCLUDES BRACKET, NO POWER
      CORD NOT TESTED
298   WERNER 12' FIBERGLASS A FRAME LADDER      1.00     200.00      200.00      0.00           0.00
299   V-FLAT WORLD FOLDABLE V-FLAT              2.00      30.00       60.00      0.00           0.00
      (BLACK/WHITE) BOARDS
300   SAMSUNG STAINLESS STEEL                   1.00     650.00      650.00      0.00           0.00
      REFRIGERATOR MODEL RS27T5200SR,
      TESTED AND POWERS ON
301   WHIRLPOOL STAINLESS STEEL                 1.00     275.00      275.00      0.00           0.00
      REFRIGERATOR MODEL WRS315SNHM03,
      NOT WORKING
302   SHARP MICROWAVE OVEN TESTED AND           1.00      40.00       40.00      0.00           0.00
      POWERS ON
303   ARIA TOASTER OVEN INCLUDES (1) OSTER      1.00      80.00       80.00      0.00           0.00
      TOASTER
304   LIFETIME 6' FOLDING TABLE                 1.00      30.00       30.00      0.00           0.00
305   DINETTE TABLE INCLUDES (3) CHAIRS         2.00      35.00       70.00      0.00           0.00
      MEASURING 42" D X 29 1/2" H
306   TRUE REFRIGERATION TBB-24-48G-HC-LD       1.00     550.00      550.00      0.00           0.00
      GLASS SWING DOOR 24" BACK BAR
      COOLER INCLUDES LED LIGHTING &
      HYDROCARBON REFRIGERANT
307   LG MICROWAVE OVEN INCLUDES SMART          1.00      80.00       80.00      0.00           0.00
      INVERTER
308   LG MICROWAVE OVEN INCLUDES SMART          1.00      80.00       80.00      0.00           0.00
      INVERTER
309   LG MICROWAVE OVEN INCLUDES SMART          1.00     100.00      100.00      0.00           0.00
      INVERTER
310   BUTCHER BLOCK 48" X 25"                   1.00     140.00      140.00      0.00           0.00
311   BUTCHER BLOCK 24" X 18"                   1.00      60.00       60.00      0.00           0.00
312   BUTCHER BLOCK 24" X 18"                   1.00      70.00       70.00      0.00           0.00
313   STAINLESS STEEL 5' PREP TABLES            3.00      80.00      240.00      0.00           0.00
                     Case 24-21209-LMI     Doc 147    Filed 12/19/24          Page 38 of 104
                                  SELLER REPORT OF LOTS SOLD                                           v9.19-COMaint-12




                                                                          CO #:                               1325
                                                                          Date:                        12/16/2024
                                                                          Page:                                  26


Lot#   Description                              Quantity     Unit Price       Ext.Price Comm/BuyBack        Expenses
314    STAINLESS STEEL SOFT CLOSE TRASH CAN      1.00         30.00           30.00           0.00             0.00
315    STAINLESS STEEL SOFT CLOSE TRASH CAN      1.00         40.00           40.00           0.00             0.00
316    STAINLESS STEEL SOFT CLOSE TRASH CAN      1.00         30.00           30.00           0.00             0.00
317    ASSORTED STAINLESS STEEL TRASH CANS       3.00         35.00          105.00           0.00             0.00
318    CUISINART 14-CUP FOOD PROCESSOR           1.00         45.00           45.00           0.00             0.00
       TESTED AND DOES NOT POWER ON
319    POWER XL AIR FRYER                        1.00         30.00           30.00           0.00             0.00
320    WALMART BLENDER                           1.00          8.00               8.00        0.00             0.00
321    NUWAVE MOXIE PRO BLENDER                  1.00         90.00           90.00           0.00             0.00
322    NUWAVE MOXIE PRO BLENDER                  1.00         90.00           90.00           0.00             0.00
323    KALORIK ELECTRIC DEEP FRYER WITH          1.00         60.00           60.00           0.00             0.00
       POWER SUPPLY
324    CHEFMAN GRIDDLE WITH POWER SUPPLY         1.00         20.00           20.00           0.00             0.00
325    KUCCU TABLE TOP MIXER                     1.00         19.00           19.00           0.00             0.00
326    TAIMASI KNIVES SET ON WOOD BLOCK          1.00       130.00           130.00           0.00             0.00
       (14PCS)
327    DUXTOP INDUCTION COOKTOP EXPERT           2.00         45.00           90.00           0.00             0.00
328    DUXTOP INDUCTION COOKTOP EXPERT           2.00         45.00           90.00           0.00             0.00
329    PANASONIC MICROWAVE                       1.00         40.00           40.00           0.00             0.00
330    STAINLESS STEEL 6' PREP TABLE             1.00       110.00           110.00           0.00             0.00
331    STAINLESS STEEL 5' PREP TABLE             1.00         60.00           60.00           0.00             0.00
332    AVANTCO REFRIGERATION 178A49RHC           1.00      1,400.00        1,400.00           0.00             0.00
       2-DOOR COMMERCIAL REACH IN UPRIGHT
       REFRIGERATOR IN STAINLESS STEEL
333    AVANTCO REFRIGERATION 178A49RHC           1.00      1,500.00        1,500.00           0.00             0.00
       2-DOOR COMMERCIAL REACH IN UPRIGHT
       REFRIGERATOR IN STAINLESS STEEL
334    VEVOR MOBILE FRYING OIL FILTER (F2) 58    1.00       180.00           180.00           0.00             0.00
       LITERS
335    ALTO-SHAAM VECTOR VMC-H3 H                1.00      3,000.00        3,000.00           0.00             0.00
       MULTI-COOK OVEN
336    12 FOOT MOBILE KITCHEN WITH CORIAN        1.00      3,500.00        3,500.00           0.00             0.00
       COUNTERTOP WITH (1) ZLINE
       PROFESSIONAL 48" GAS COOKTOP WITH 7
       BURNERS, (1) KITCHENAID STAINLESS
       STEEL OVEN, (1) RUVATI STAINLESS STEEL
       SINK WITH SPRAYER FAUCET, INCLUDES
       CONTENTS IN CABINETS, WITH (4)
       RELIANCE AQUA TAINER 7 GAL. PLASTIC
       JUGS
337    STAINLESS STEEL 5' PREP TABLES            3.00         90.00          270.00           0.00             0.00
                     Case 24-21209-LMI      Doc 147      Filed 12/19/24        Page 39 of 104
                                  SELLER REPORT OF LOTS SOLD                                            v9.19-COMaint-12




                                                                           CO #:                               1325
                                                                           Date:                        12/16/2024
                                                                           Page:                                  27


Lot#   Description                                 Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
338    CUISINART TOASTER OVEN                       1.00      100.00          100.00           0.00             0.00
339    NEURO FUZZY RICE COOKER                      1.00       35.00           35.00           0.00             0.00
340    BREVILLE MICROWAVE OVEN                      1.00       70.00           70.00           0.00             0.00
341    INSTANT OMNI PLUS TOASTER OVEN DOES          1.00       90.00           90.00           0.00             0.00
       NOT POWER ON
342    ARIA DIGITAL AIR FRYER MODEL ATW-918         1.00       80.00           80.00           0.00             0.00
343    ANTARCTIC STAR BEVERAGE AND WINE             1.00      160.00          160.00           0.00             0.00
       CENTER MODEL JC-128VEL-F
344    EQUIPEX ROLLER GRILL CONVECTION              1.00      275.00          275.00           0.00             0.00
       OVEN
345    55" MOBILE TV" STAND DESIGNED TO             1.00      800.00          800.00           0.00             0.00
       RESEMBLE AN IPHONE
346    APPLE MACBOOK PRO WITH TOUCH BAR             1.00      550.00          550.00           0.00             0.00
       LAPTOP A2141 MFG. 2019, 16", INTEL CORE
       i9 2.3 GHZ 8 CORE, INTEL UHD 630, 16GB
       RAM, 1TB STORAGE, FACTORY RESET
347    APPLE MACBOOK PRO WITH TOUCH BAR             1.00      550.00          550.00           0.00             0.00
       LAPTOP A2141 MFG. 2019, 16" INTEL CORE i7
       2.6GHZ 16GB RAM 500GB HARD DRIVE,
       FACTORY RESET
348    APPLE MACBOOK PRO WITH TOUCH BAR             1.00      350.00          350.00           0.00             0.00
       LAPTOP A2141 FACTORY RESET
349    APPLE MACBOOK PRO INCLUDES TOUCH             1.00      350.00          350.00           0.00             0.00
       BAR LAPTOP A1990 MFG. 2019, 15" CORE i9
       2.3GHZ 16GB RAM 500GB HARD DRIVE,
       FACTORY RESET
350    APPLE MACBOOK PRO INCLUDES TOUCH             1.00      200.00          200.00           0.00             0.00
       BAR LAPTOP A2141 FACTORY RESET
351    APPLE MACBOOK PRO INCLUDES TOUCH             1.00      425.00          425.00           0.00             0.00
       BAR LAPTOP A2141 MFG. 2019, 16", INTEL
       CORE i9 2.3 GHZ, INTEL UHD 630, 16GB RAM,
       1TB STORAGE, FACTORY RESET
352    APPLE MACBOOK PRO INCLUDES TOUCH             1.00      375.00          375.00           0.00             0.00
       BAR LAPTOP A2141 MFG. 2019, 16" CORE i7
       2.6GHZ 16GB RAM 500GB HARD DRIVE,
       FACTORY RESET
353    APPLE MACBOOK PRO INCLUDES TOUCH             1.00      400.00          400.00           0.00             0.00
       BAR LAPTOP A2141 FACTORY RESET
354    APPLE MACBOOK PRO INCLUDES TOUCH             1.00      500.00          500.00           0.00             0.00
       BAR LAPTOP A2141 MFG. 2019, 16" CORE i9
       2.4GHZ 64GB RAM 1TB HARD DRIVE,
       FACTORY RESET
                     Case 24-21209-LMI      Doc 147    Filed 12/19/24          Page 40 of 104
                                  SELLER REPORT OF LOTS SOLD                                            v9.19-COMaint-12




                                                                           CO #:                               1325
                                                                           Date:                        12/16/2024
                                                                           Page:                                  28


Lot#   Description                               Quantity     Unit Price       Ext.Price Comm/BuyBack        Expenses
355    APPLE MACBOOK PRO A2485 APPLE,             1.00      1,000.00        1,000.00           0.00             0.00
       MACBOOK PRO, 2021, 16", A2485, M1 MAX,
       500GB, 32GB, SERIAL NUMBER:
       C43P6CXLF6, FACTORY RESET
356    APPLE MACBOOK PRO A2485 FACTORY            1.00       950.00           950.00           0.00             0.00
       RESET
357    APPLE ACCESSORIES CONSISTING OF (5)        7.00         20.00          140.00           0.00             0.00
       USB-C TO DIGITAL AV, (1) USB-C TO
       LIGHTING, (1) MOUNT FOR APPLE TV
358    APPLE MAGIC KEYBOARDS                      2.00         40.00           80.00           0.00             0.00
359    APPLE MAGIC KEYBOARDS AND MOUSE            3.00         35.00          105.00           0.00             0.00
360    APPLE MAGIC KEYBOARDS AND MOUSE            3.00         35.00          105.00           0.00             0.00
361    APPLE MAGIC KEYBOARDS (1) MOUSE, (1)       3.00         17.00           51.00           0.00             0.00
       KEYBOARD HAS MISSING KEYS
362    MICROSOFT SURFACE LAPTOP MODEL 1951        1.00       225.00           225.00           0.00             0.00
       FACTORY RESET
363    MICROSOFT SURFACE LAPTOP 4 MODEL           1.00       500.00           500.00           0.00             0.00
       1979 FACTORY RESET
364    MICROSOFT SURFACE BOOK 3 FACTORY           1.00       300.00           300.00           0.00             0.00
       RESET
365    MICROSOFT SURFACE BOOK 3 FACTORY           1.00       300.00           300.00           0.00             0.00
       RESET
366    MICROSOFT SURFACE BOOK 3 (NOTE HAS         1.00       300.00           300.00           0.00             0.00
       CRACKED SCREEN) FACTORY RESET
367    MICROSOFT SURFACE BOOK 3 FACTORY           1.00       300.00           300.00           0.00             0.00
       RESET
368    MICROSOFT SURFACE BOOK 3 FACTORY           1.00       300.00           300.00           0.00             0.00
       RESET
369    MICROSOFT SURFACE BOOK 3 FACTORY           1.00       300.00           300.00           0.00             0.00
       RESET
370    YEALINK IP PHONES MODEL SIP-T54W          15.00         40.00          600.00           0.00             0.00
371    CISCO IP PHONES MODEL SPA525G             11.00         18.00          198.00           0.00             0.00
372    CISCO MERAKI WIRELESS ACCESS POINT         4.00         80.00          320.00           0.00             0.00
       (3) MR52, (1) MR46, INCLUDES WALL MOUNT
373    CISCO MERAKI MR56 WIRELESS ACCESS          6.00       120.00           720.00           0.00             0.00
       POINT INCLUDES WALL MOUNT
374    CISCO MERAKI MV32 SECURITY CAMERAS        10.00         70.00          700.00           0.00             0.00
375    VARIOUS SECURITY CAMERAS                   4.00         20.00           80.00           0.00             0.00
376    LOT CONSISTING OF ASSORTED EMPTY           1.00          7.00               7.00        0.00             0.00
       CIGAR BOXES
377    FOOD GRADE METRO RACKS                     3.00         35.00          105.00           0.00             0.00
                     Case 24-21209-LMI        Doc 147     Filed 12/19/24        Page 41 of 104
                                    SELLER REPORT OF LOTS SOLD                                           v9.19-COMaint-12




                                                                            CO #:                               1325
                                                                            Date:                        12/16/2024
                                                                            Page:                                  29


Lot#   Description                                  Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
379    ASSORTED HP LASER JET TONER                   8.00       45.00          360.00           0.00             0.00
       CARTRIDGES (1) 37A BLACK, (1) 414X
       YELLOW, (4) 414X BLUE, (2) 414X BLACK, (2)
       414A MAGENTA, (2) W2020XC BLACK, (2)
       W2022XC YELLOW, (1) W2021XC CYAN
380    i1 COLORCHECKER PRO PHOTO KIT                 1.00       60.00           60.00           0.00             0.00
381    BELKIN ETHERNET+POWER ADAPTER                 2.00        5.00           10.00           0.00             0.00
       INCLUDES LIGHTING CONNECTOR
382    ENFORCER PUSH TO EXIT PLATE INCLUDES          1.00        6.00               6.00        0.00             0.00
       TIMER
383    TRIPP-LITE SURGE PROTECTORS                  12.00       11.00          132.00           0.00             0.00
384    PRINCUBE PORTABLE MOBILE COLOR                1.00       60.00           60.00           0.00             0.00
       PRINTER MISSING POWER CORD
385    VARIOUS LAPTOP BAGS, TABLET BAGS AND         30.00        3.00           90.00           0.00             0.00
       IPAD COVERS
386    TESA PLATE MOUNTING DOUBLE SIDED              1.00       11.00           11.00           0.00             0.00
       STICKY TAPE
387    SECURE CORD CABLE MANAGEMENT                  1.00       16.00           16.00           0.00             0.00
       SYSTEM FOR CARPET
388    MSI CREATOR 17                                1.00      550.00          550.00           0.00             0.00
       B11UH-238US-BB71180H32GXXDX10P
       LAPTOP, CORE i7, NVIDIA GEFORCE RTX,
       TRUE PIXEL MINI LED DISPLAY
389    MICROSOFT SURFACE BOOK 3 FACTORY              1.00      400.00          400.00           0.00             0.00
       RESET
390    MICROSOFT SURFACE BOOK 3 FACTORY              1.00      450.00          450.00           0.00             0.00
       RESET
391    MICROSOFT SURFACE BOOK 3 FACTORY              1.00      400.00          400.00           0.00             0.00
       RESET
392    MICROSOFT SURFACE BOOK 3 FACTORY              1.00      375.00          375.00           0.00             0.00
       RESET
393    PLASTIC VENTILATED SHELVING UNITS             3.00        7.00           21.00           0.00             0.00
394    MICROSOFT SURFACE MODEL 1866                  1.00      160.00          160.00           0.00             0.00
       FACTORY RESET, 512GB
395    MICROSOFT SURFACE MODEL 1866                  1.00      150.00          150.00           0.00             0.00
       FACTORY RESET, 512GB
396    MICROSOFT SURFACE MODEL 1866                  1.00      180.00          180.00           0.00             0.00
       FACTORY RESET, 512GB
397    MICROSOFT SURFACE MODEL 1866                  1.00      170.00          170.00           0.00             0.00
       FACTORY RESET, 512GB
398    MICROSOFT SURFACE MODEL 1866                  1.00      190.00          190.00           0.00             0.00
       FACTORY RESET, 512GB
                     Case 24-21209-LMI   Doc 147    Filed 12/19/24        Page 42 of 104
                                 SELLER REPORT OF LOTS SOLD                                        v9.19-COMaint-12




                                                                      CO #:                               1325
                                                                      Date:                        12/16/2024
                                                                      Page:                                  30


Lot#   Description                            Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
399    MICROSOFT SURFACE MODEL 1866            1.00      170.00          170.00           0.00             0.00
       FACTORY RESET, 512GB
400    MICROSOFT SURFACE MODEL 1866            1.00      150.00          150.00           0.00             0.00
       FACTORY RESET, 512GB
401    MICROSOFT SURFACE MODEL 1866            1.00      180.00          180.00           0.00             0.00
       FACTORY RESET, 512GB
403    MICROSOFT SURFACE MODEL 1960            1.00      250.00          250.00           0.00             0.00
       FACTORY RESET, 512GB
404    MICROSOFT SURFACE MODEL 1960            1.00      300.00          300.00           0.00             0.00
       FACTORY RESET, 512GB, INCLUDES POWER
       SUPPLY
405    MICROSOFT SURFACE MODEL 1960            1.00      250.00          250.00           0.00             0.00
       FACTORY RESET, 512GB, INCLUDES POWER
       SUPPLY
406    MICROSOFT SURFACE MODEL 1960            1.00      200.00          200.00           0.00             0.00
       FACTORY RESET, 512GB, INCLUDES POWER
       SUPPLY
407    MICROSOFT SURFACE MODEL 1866            1.00      170.00          170.00           0.00             0.00
       FACTORY RESET, 512GB, INCLUDES POWER
       SUPPLY
408    MICROSOFT SURFACE MODEL 1866            1.00      140.00          140.00           0.00             0.00
       FACTORY RESET, 512GB, INCLUDES POWER
       SUPPLY
409    MICROSOFT SURFACE MODEL 1866            1.00      150.00          150.00           0.00             0.00
       FACTORY RESET, 512GB, INCLUDES POWER
       SUPPLY
411    MICROSOFT SURFACE MODEL 1796            1.00       80.00           80.00           0.00             0.00
       FACTORY RESET, 512GB, INCLUDES POWER
       SUPPLY
412    MICROSOFT SURFACE MODEL 1724            1.00       90.00           90.00           0.00             0.00
       FACTORY RESET, 512GB, INCLUDES POWER
       SUPPLY
413    MICROSOFT SURFACE MODEL 1724            1.00       70.00           70.00           0.00             0.00
       FACTORY RESET, 512GB, INCLUDES POWER
       SUPPLY
414    MICROSOFT SURFACE MODEL 1960            1.00      300.00          300.00           0.00             0.00
       FACTORY RESET, 512GB, INCLUDES POWER
       SUPPLY
415    MICROSOFT SURFACE MODEL 1796            1.00       50.00           50.00           0.00             0.00
       FACTORY RESET, 256GB, INCLUDES POWER
       SUPPLY
416    MICROSOFT SURFACE MODEL 1866            1.00      150.00          150.00           0.00             0.00
       FACTORY RESET, 512GB, INCLUDES POWER
       SUPPLY
                     Case 24-21209-LMI    Doc 147    Filed 12/19/24          Page 43 of 104
                                 SELLER REPORT OF LOTS SOLD                                           v9.19-COMaint-12




                                                                         CO #:                               1325
                                                                         Date:                        12/16/2024
                                                                         Page:                                  31


Lot#   Description                             Quantity     Unit Price       Ext.Price Comm/BuyBack        Expenses
417    MICROSOFT SURFACE MODEL 1866             1.00       160.00           160.00           0.00             0.00
       FACTORY RESET, 512GB, INCLUDES POWER
       SUPPLY
418    MICROSOFT SURFACE MODEL 1796             1.00       150.00           150.00           0.00             0.00
       FACTORY RESET, 512GB, NO KEYBOARD,
       INCLUDES POWER SUPPLY
419    MICROSOFT SURFACE MODEL 1724             1.00       110.00           110.00           0.00             0.00
       FACTORY RESET, 1TB, NO KEYBOARD,
       INCLUDES POWER SUPPLY
420    MICROSOFT SURFACE MODEL 1724             1.00       110.00           110.00           0.00             0.00
       FACTORY RESET, 512GB, NO KEYBOARD,
       INCLUDES POWER SUPPLY
421    MICROSOFT SURFACE MODEL 1796             1.00       190.00           190.00           0.00             0.00
       FACTORY RESET, 512GB, NO KEYBOARD,
       INCLUDES POWER SUPPLY
422    MICROSOFT SURFACE MODEL 1796             1.00       120.00           120.00           0.00             0.00
       FACTORY RESET, 512GB, NO KEYBOARD,
       INCLUDES POWER SUPPLY
423    MICROSOFT SURFACE MODEL 1866             1.00       150.00           150.00           0.00             0.00
       FACTORY RESET, 512GB, NO KEYBOARD,
       INCLUDES POWER SUPPLY
424    LOT CONSISTING OF (3) MICROSOFT          1.00       500.00           500.00           0.00             0.00
       SURFACE PRO KEYBOARDS AND (2) PENS
425    LOT CONSISTING OF LAPWORKS MONITOR       1.00          2.00               2.00        0.00             0.00
       SWIVEL STAND
426    STAINLESS STEEL 6' PREP TABLE            2.00         70.00          140.00           0.00             0.00
427    STAINLESS STEEL 5' PREP TABLE            1.00         50.00           50.00           0.00             0.00
428    INSIGNIA 43" TV ON ROLLING STAND         1.00       140.00           140.00           0.00             0.00
429    MICROSOFT SURFACE BOOK 3 (NEW) 10TH      1.00       900.00           900.00           0.00             0.00
       GEN INTEL, CORE I7, 1TB HARD DRIVE,
       32GB RAM, NVIDIA GEFORCE GTX 1650
       GPU, INCLUDES POWER SUPPLY
430    MICROSOFT SURFACE BOOK 3 (NEW) 10TH      1.00       900.00           900.00           0.00             0.00
       GEN INTEL, CORE I7, 1TB HARD DRIVE,
       32GB RAM, NVIDIA GEFORCE GTX 1650
       GPU, INCLUDES POWER SUPPLY
431    MICROSOFT SURFACE BOOK 3 (NEW) 10TH      1.00       950.00           950.00           0.00             0.00
       GEN INTEL, CORE I7, 1TB HARD DRIVE,
       32GB RAM, NVIDIA GEFORCE GTX 1650
       GPU, INCLUDES POWER SUPPLY
432    MICROSOFT SURFACE BOOK 3 (NEW) 10TH      1.00      1,300.00        1,300.00           0.00             0.00
       GEN INTEL, CORE I7, 1TB HARD DRIVE,
       32GB RAM, NVIDIA GEFORCE GTX 1650
       GPU, INCLUDES POWER SUPPLY
                     Case 24-21209-LMI     Doc 147    Filed 12/19/24        Page 44 of 104
                                  SELLER REPORT OF LOTS SOLD                                         v9.19-COMaint-12




                                                                        CO #:                               1325
                                                                        Date:                        12/16/2024
                                                                        Page:                                  32


Lot#   Description                              Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
433    MICROSOFT SURFACE BOOK 3 (NEW) 10TH       1.00      850.00          850.00           0.00             0.00
       GEN INTEL, CORE I7, 1TB HARD DRIVE,
       32GB RAM, NVIDIA GEFORCE GTX 1650
       GPU, INCLUDES POWER SUPPLY
434    MICROSOFT SURFACE BOOK 3 (NEW) 10TH       1.00      850.00          850.00           0.00             0.00
       GEN INTEL, CORE I7, 1TB HARD DRIVE,
       32GB RAM, NVIDIA GEFORCE GTX 1650
       GPU, INCLUDES POWER SUPPLY
435    LOT CONSISTING OF ASSORTED NETWORK        1.00       16.00           16.00           0.00             0.00
       CABLES POWER CABLES, ETC.
436    SAMSUNG GALAXY S20 FE 5G CELLPHONES       7.00      100.00          700.00           0.00             0.00
       ALL ARE DAMAGED
437    LOT CONSISTING OF ASSORTED DAMAGED        1.00      595.03          595.03           0.00             0.00
       CELL PHONES AND CASES
438    ZEBRA 505 THERMAL LABEL PRINTER           1.00      160.00          160.00           0.00             0.00
439    JABRA SPEAK 810 MODEL PH5004W             1.00       70.00           70.00           0.00             0.00
440    SAMSUNG 24" TV INCLUDES REMOTE NO         1.00       40.00           40.00           0.00             0.00
       BASE
441    BONSAII L409-A LAMINATOR                  1.00       12.00           12.00           0.00             0.00
442    CISCO MERAKI Z3 TELEWORKER GATEWAY        1.00       25.00           25.00           0.00             0.00
       - SECURITY APPLIANCE
443    LOT CONSISTING OF (3) WIRED KEYBOARD      1.00        3.00               3.00        0.00             0.00
       AND (1) MOUSE
445    MICROSOFT ASSORTED WIRELESS              30.00        8.00          240.00           0.00             0.00
       MOUSES
446    MICROSOFT ERGONOMIC WIRELESS             25.00        3.00           75.00           0.00             0.00
       KEYBOARDS INCLUDES MOUSES,
       INCLUDES (8) ADDITIONAL KEYBOARDS
447    IPGEAR WIRELESS TV CONNECTION KIT         1.00       45.00           45.00           0.00             0.00
       INCLUDES TRANSMITTER AND RECEIVER
448    PWAY HDMI EXTENDER                        1.00       11.00           11.00           0.00             0.00
449    USROBOTICS 56K BUSINESS MODEM             1.00        3.00               3.00        0.00             0.00
450    BARCO CLICKSHARE CSE-200                  1.00        3.00               3.00        0.00             0.00
451    BEELT IPAD WALL MOUNT INCLUDES LOCK       1.00       14.00           14.00           0.00             0.00
       AND KEYS
452    CISCO MERAKI CAMERA DOME MOUNTING         3.00       12.00           36.00           0.00             0.00
       ARM MODEL MA-MNT-MV-30
452a   AMAZON DOT MODEL RS03QR MISSING           1.00        7.00               7.00        0.00             0.00
       POWER CORD
453    LOT CONSISTING OF PLANTRONICS             1.00        5.00               5.00        0.00             0.00
       HEADSET CHARGERS (12)
                     Case 24-21209-LMI         Doc 147    Filed 12/19/24        Page 45 of 104
                                    SELLER REPORT OF LOTS SOLD                                           v9.19-COMaint-12




                                                                            CO #:                               1325
                                                                            Date:                        12/16/2024
                                                                            Page:                                  33


Lot#   Description                                  Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
454    DOORBIRD A1101 IP VIDEO INDOOR                1.00       80.00           80.00           0.00             0.00
       STATION
455    POLYCOM REALPRESENCE DEBUT VIDEO              1.00       40.00           40.00           0.00             0.00
       INCLUDES REMOTE
456    DELL SONIC WALL TZ400                         1.00        4.00               4.00        0.00             0.00
457    EXTRON HDMI EXTENDERS (3) DTP HDMI            6.00       30.00          180.00           0.00             0.00
       230 TX, (1) DA2 HD 4K, (2) DTP HDMI 230 RX
458    PC CASES                                      2.00       18.00           36.00           0.00             0.00
459    OWL LABS MEETING QWL PRO INCLUDES             2.00      160.00          320.00           0.00             0.00
       POWER SUPPLY
460    OWL LABS MEETING QWL PRO INCLUDES             2.00      170.00          340.00           0.00             0.00
       POWER SUPPLY
461    OWL LABS MEETING QWL PRO INCLUDES             2.00      140.00          280.00           0.00             0.00
       POWER SUPPLY
463    L-1 IDENTITY SOLUTIONS 4GFXL                  6.00       10.00           60.00           0.00             0.00
       FINGERPRINT & CARD READERS
464    LOT CONSISTING OF ASSORTED CABLES             1.00       15.00           15.00           0.00             0.00
465    FOOD GRADE 5' METRO RACK                      1.00       35.00           35.00           0.00             0.00
466    LG 27" MONITORS ON DUAL DESK MOUNT            2.00       45.00           90.00           0.00             0.00
       NO POWER SUPPLY, NOT TESTED
467    WACOM CINTIQ PRO 32 INCH 4K UHD               1.00      650.00          650.00           0.00             0.00
       GRAPHICS TABLET INCLUDES REMOTE,
       PEN, AND PENCIL STAND, INCLUDES WALL
       MOUNT, NO POWER SUPPLY NOT TESTED
468    WACOM CINTIQ PRO 24 INCH 4K UHD               1.00      450.00          450.00           0.00             0.00
       GRAPHICS TABLET INCLUDES REMOTE,
       PEN, AND PENCIL STAND, NO POWER
       SUPPLY NOT TESTED
469    LOT CONSISTING OF ASSORTED MONITOR            1.00       13.00           13.00           0.00             0.00
       MOUNTS
470    HIGH BACK OFFICE ROLLING CHAIRS               4.00      130.00          520.00           0.00             0.00
471    CINTAS FIRST AID CENTER (EMPTY) JUST          2.00        9.00           18.00           0.00             0.00
       THE BOX
472    SHRED-IT SHREDDER BIN CONSOLE                 1.00       60.00           60.00           0.00             0.00
473    DINETTE TABLE INCLUDES (4) CHAIRS             1.00      225.00          225.00           0.00             0.00
       MEASURING 42" D X 29 1/2" H
474    DINETTE TABLE INCLUDES (4) CHAIRS             1.00      325.00          325.00           0.00             0.00
       MEASURING 42" D X 29 1/2" H
475    DINETTE TABLE INCLUDES (4) CHAIRS             1.00      110.00          110.00           0.00             0.00
       MEASURING 42" D X 29 1/2" H
476    DINETTE TABLE INCLUDES (4) CHAIRS             1.00      170.00          170.00           0.00             0.00
       MEASURING 42" D X 29 1/2" H
                     Case 24-21209-LMI   Doc 147    Filed 12/19/24        Page 46 of 104
                                  SELLER REPORT OF LOTS SOLD                                       v9.19-COMaint-12




                                                                      CO #:                               1325
                                                                      Date:                        12/16/2024
                                                                      Page:                                  34


Lot#   Description                            Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
477    L-SHAPE DESK INCLUDES OFFICE ROLLING    1.00      350.00          350.00           0.00             0.00
       CHAIR AND (1) WOOD TWO DRAWER
       ROLLING FILE CABINET AND METAL TRASH
       BIN
478    L-SHAPE DESK INCLUDES OFFICE ROLLING    1.00      375.00          375.00           0.00             0.00
       CHAIR AND (1) WOOD TWO DRAWER
       ROLLING FILE CABINET AND METAL TRASH
       BIN
479    OFFICE DESK INCLUDES OFFICE ROLLING     1.00      425.00          425.00           0.00             0.00
       CHAIR AND (1) WOOD TWO DRAWER
       ROLLING FILE CABINET AND METAL TRASH
       BIN
480    OFFICE DESK INCLUDES OFFICE ROLLING     1.00      400.00          400.00           0.00             0.00
       CHAIR AND (1) WOOD TWO DRAWER
       ROLLING FILE CABINET AND METAL TRASH
       BIN
481    LOT CONSISTING OF ELECTRONICS           1.00      110.00          110.00           0.00             0.00
       INCLUDING 27" LG MONITOR MODEL
       27BL55U-B, PLANTRONICS HEADSET,
       MICROSOFT DOCKING STATION, AND
       WIRELESS MICROSOFT KEYBOARD AND
       MOUSE, (1) DESK LAMP
482    LOT CONSISTING OF ELECTRONICS           1.00      130.00          130.00           0.00             0.00
       INCLUDING 27" LG MONITOR MODEL
       27BL55U-B, PLANTRONICS HEADSET,
       MICROSOFT DOCKING STATION, AND
       WIRELESS MICROSOFT KEYBOARD AND
       MOUSE, (1) DESK LAMP
483    LOT CONSISTING OF ELECTRONICS           1.00      110.00          110.00           0.00             0.00
       INCLUDING 27" LG MONITOR MODEL
       27BL55U-B, PLANTRONICS HEADSET,
       MICROSOFT DOCKING STATION, AND
       WIRELESS MICROSOFT KEYBOARD AND
       MOUSE, (1) DESK LAMP
484    LOT CONSISTING OF ELECTRONICS           1.00      110.00          110.00           0.00             0.00
       INCLUDING 27" LG MONITOR MODEL
       27BL55U-B, PLANTRONICS HEADSET,
       MICROSOFT DOCKING STATION, AND
       WIRELESS MICROSOFT KEYBOARD AND
       MOUSE, (1) DESK LAMP
486    MESA SAFE COMPANY DROP SAFE             1.00       30.00           30.00           0.00             0.00
       INCLUDES KEYS
487    SIT ON IT SEATING BENCH 6' W            1.00      500.00          500.00           0.00             0.00
488    METAL AND GLASS TOP SIDE TABLE          1.00       30.00           30.00           0.00             0.00
                     Case 24-21209-LMI       Doc 147    Filed 12/19/24        Page 47 of 104
                                 SELLER REPORT OF LOTS SOLD                                            v9.19-COMaint-12




                                                                          CO #:                               1325
                                                                          Date:                        12/16/2024
                                                                          Page:                                  35


Lot#   Description                                Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
489    GLASS MONITOR STAND RISER                  10.00        7.00           70.00           0.00             0.00
490    LINE LEADER A/V CART INCLUDES DUAL LG       1.00      475.00          475.00           0.00             0.00
       27" MONITORS ON DUAL DESK MOUNT
491    VIVO STAND UP DESK MOBILE                   1.00       13.00           13.00           0.00             0.00
       WORKSTATION
492    VIVO STAND UP DESK MOBILE                   1.00       25.00           25.00           0.00             0.00
       WORKSTATION
493    SQUARE TERMINALS INCLUDES SPIDER            2.00      120.00          240.00           0.00             0.00
       HOLSTER MOUNT INCLUDES (20) ROLLS OF
       SQUARE THERMAL PAPER ROLLS,
       INCLUDES POWER SUPPLY
494    SQUARE POS SYSTEM INCLUDES CASH             1.00      275.00          275.00           0.00             0.00
       DRAWER AND STAR FUTUREPRINT
       TSP100III RECEIPT PRINTER, INCLUDES
       POWER SUPPLY
495    SQUARE POS SYSTEM INCLUDES (1)              1.00      850.00          850.00           0.00             0.00
       MICROTOUCH 21.5" LC ALL-IN-ONE SYSTEM
       POINT OF SALE COMPUTER IC-215P-AA2, (1)
       STAR FUTUREPRINT TSP100III, (1) STAR
       C-PRINT3, INCLUDES (10) ROLLS OF
       RECEIPT PAPER
496    SQUARE POS SYSTEM INCLUDES (1)              1.00      650.00          650.00           0.00             0.00
       MICROTOUCH 21.5" LC ALL-IN-ONE SYSTEM
       POINT OF SALE COMPUTER IC-215P-AA2, (1)
       STAR FUTUREPRINT TSP100III, (1) STAR
       C-PRINT3, INCLUDES (3) ROLLS OF RECEIPT
       PAPER
497    MICROSOFT SURFACE WIRELESS                 25.00       60.00        1,500.00           0.00             0.00
       KEYBOARDS
498    MICROSOFT SURFACE DOCK 2 DOCKING            4.00      110.00          440.00           0.00             0.00
       STATIONS
499    MICROSOFT SURFACE DOCK 2 DOCKING            4.00      110.00          440.00           0.00             0.00
       STATIONS
500    MICROSOFT SURFACE DOCK 2 DOCKING            4.00       80.00          320.00           0.00             0.00
       STATIONS
501    MICROSOFT SURFACE DOCK 2 DOCKING            4.00       80.00          320.00           0.00             0.00
       STATIONS
502    MICROSOFT SURFACE DOCK 2 DOCKING            4.00       80.00          320.00           0.00             0.00
       STATIONS
503    MICROSOFT SURFACE DOCK 2 DOCKING            4.00       80.00          320.00           0.00             0.00
       STATIONS
504    MICROSOFT SURFACE DOCK 2 DOCKING            4.00       90.00          360.00           0.00             0.00
       STATIONS
                     Case 24-21209-LMI   Doc 147    Filed 12/19/24        Page 48 of 104
                                 SELLER REPORT OF LOTS SOLD                                        v9.19-COMaint-12




                                                                      CO #:                               1325
                                                                      Date:                        12/16/2024
                                                                      Page:                                  36


Lot#   Description                            Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
505    MICROSOFT SURFACE DOCK 2 DOCKING        4.00       90.00          360.00           0.00             0.00
       STATIONS
506    MICROSOFT SURFACE DOCK 2 DOCKING        4.00       80.00          320.00           0.00             0.00
       STATIONS
507    MICROSOFT SURFACE DOCK 2 DOCKING        5.00       90.00          450.00           0.00             0.00
       STATIONS
508    MICROSOFT SURFACE DOCK 2 DOCKING        5.00       90.00          450.00           0.00             0.00
       STATIONS
509    MICROSOFT SURFACE DOCK 2 DOCKING        6.00       60.00          360.00           0.00             0.00
       STATIONS
510    MICROSOFT SURFACE DOCK 2 DOCKING        5.00       60.00          300.00           0.00             0.00
       STATIONS
511    MICROSOFT SURFACE DOCK 2 DOCKING        5.00       60.00          300.00           0.00             0.00
       STATIONS
512    MICROSOFT SURFACE DOCK 2 DOCKING        7.00       70.00          490.00           0.00             0.00
       STATIONS
513    MICROSOFT SURFACE DOCK 2 DOCKING        7.00       60.00          420.00           0.00             0.00
       STATIONS
514    MICROSOFT SURFACE DOCK 2 DOCKING        5.00       60.00          300.00           0.00             0.00
       STATIONS
515    MICROSOFT SURFACE DOCK 2 DOCKING        6.00       60.00          360.00           0.00             0.00
       STATIONS
516    MICROSOFT SURFACE DOCK 2 DOCKING        7.00       60.00          420.00           0.00             0.00
       STATIONS
517    MICROSOFT SURFACE DOCK 2 DOCKING        5.00       60.00          300.00           0.00             0.00
       STATIONS (NOTE MISSING (3) POWER
       CORDS
518    MICROSOFT ARC MOUSES                    4.00       45.00          180.00           0.00             0.00
519    MICROSOFT ARC MOUSES                    4.00       40.00          160.00           0.00             0.00
520    MICROSOFT ARC MOUSES                    4.00       35.00          140.00           0.00             0.00
521    MICROSOFT ARC MOUSES                    4.00       35.00          140.00           0.00             0.00
522    MICROSOFT ARC MOUSES                    4.00       40.00          160.00           0.00             0.00
523    MICROSOFT ARC MOUSES                    4.00       40.00          160.00           0.00             0.00
524    MICROSOFT ARC MOUSES                    4.00       45.00          180.00           0.00             0.00
525    MICROSOFT ARC MOUSES                    4.00       35.00          140.00           0.00             0.00
526    HEWLETT PACKARD LASER JET PRO           1.00       90.00           90.00           0.00             0.00
       M404DW PRINTER
527    HEWLETT PACKARD LASER JET PRO           1.00       90.00           90.00           0.00             0.00
       M404DW PRINTER
528    HEWLETT PACKARD LASER JET PRO           1.00       90.00           90.00           0.00             0.00
       M404DW PRINTER
                     Case 24-21209-LMI         Doc 147    Filed 12/19/24        Page 49 of 104
                                  SELLER REPORT OF LOTS SOLD                                             v9.19-COMaint-12




                                                                            CO #:                               1325
                                                                            Date:                        12/16/2024
                                                                            Page:                                  37


Lot#   Description                                  Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
529    HEWLETT PACKARD LASER JET PRO                 1.00       70.00           70.00           0.00             0.00
       M404DW PRINTER
530    HEWLETT PACKARD COLOR LASER JET               1.00      275.00          275.00           0.00             0.00
       PRO MFP M479FDW PRINTER
531    HEWLETT PACKARD COLOR LASER JET               1.00      300.00          300.00           0.00             0.00
       PRO MFP M479FDW PRINTER
532    HEWLETT PACKARD COLOR LASER JET               1.00      325.00          325.00           0.00             0.00
       PRO MFP M479FDW PRINTER
533    BOXES OF ASSORTED SURGE                       5.00       13.00           65.00           0.00             0.00
       PROTECTORS (40+/-)
534    LOT CONSISTING OF VARIOUS ELECTRONIC          1.00       20.00           20.00           0.00             0.00
       WALL MOUNTS
535    TOAST POS SYSTEM                              1.00      140.00          140.00           0.00             0.00
536    LOT CONSISTING OF (3) DAMAGED                 1.00       45.00           45.00           0.00             0.00
       MICROSOFT SURFACE (1) MODEL 1796
       256GB, (2) MODEL 1724 256GB, ALL HAVE
       CRACKED SCREENS
537    MODERNO KIDS GAME CONTROLLERS                 2.00        6.00           12.00           0.00             0.00
538    NETGEAR 24PORT SWITCH                         1.00       12.00           12.00           0.00             0.00
539    PYLE HOME PCM30A AMPLIFIER                    1.00       25.00           25.00           0.00             0.00
540    LOT CONSISTING OF ASSORTED POWER              1.00       18.00           18.00           0.00             0.00
       CORDS AND POWER SUPPLIES
541    3-DRAWER LATERAL FILE CABINETS                1.00       70.00           70.00           0.00             0.00
542    2-DRAWER LATERAL FILE CABINET                 1.00       45.00           45.00           0.00             0.00
543    LG 27" MONITORS MODEL 27BL85U-W               3.00       90.00          270.00           0.00             0.00
       INCLUDES POWER SUPPLY
544    LG 27" MONITORS MODEL 27BL85U-W               3.00       80.00          240.00           0.00             0.00
       INCLUDES POWER SUPPLY
545    LG 27" MONITORS MODEL 27BL85U-W               3.00       80.00          240.00           0.00             0.00
       INCLUDES POWER SUPPLY
546    LG 27" MONITORS MODEL 27BL85U-W               2.00      100.00          200.00           0.00             0.00
       INCLUDES POWER SUPPLY
547    LG 27" MONITORS MODEL 27BL85U-W               1.00      120.00          120.00           0.00             0.00
       INCLUDES POWER SUPPLY
551    LG 27" MONITORS MODEL 27BL55U-B (NEW          3.00      100.00          300.00           0.00             0.00
       IN BOX) INCLUDES POWER SUPPLY
552    LG 27" MONITORS MODEL 27BL55U-B (NEW          4.00       80.00          320.00           0.00             0.00
       IN BOX) INCLUDES POWER SUPPLY
553    DELL 27" MONITORS MODEL S2715HT WITH          3.00       60.00          180.00           0.00             0.00
       POWER SUPPLY, NOTE ALL MONITORS
       HAVE SCREEN DAMAGED
                     Case 24-21209-LMI       Doc 147      Filed 12/19/24        Page 50 of 104
                                   SELLER REPORT OF LOTS SOLD                                            v9.19-COMaint-12




                                                                            CO #:                               1325
                                                                            Date:                        12/16/2024
                                                                            Page:                                  38


Lot#   Description                                  Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
554    DELL 34" MONITOR MODEL U3415WB                1.00      170.00          170.00           0.00             0.00
       INCLUDES POWER SUPPLY
555    LG ASSORTED MONITORS NO POWER                10.00       70.00          700.00           0.00             0.00
       SUPPLY, NOT TESTED
556    LG 32" MONITOR MODEL 32UP550                  1.00      150.00          150.00           0.00             0.00
557    SAMSUNG 65" TV MODEL UN65TU8000F, NO          1.00      200.00          200.00           0.00             0.00
       BASE, WALL MOUNT, NO POWER CORD,
       TESTED AND POWERS ON (NOTE TV HAS
       DAMAGE)
558    BENQ 27" MONITOR MODEL EW2780U (NEW           1.00      130.00          130.00           0.00             0.00
       IN BOX) (NEW IN BOX)
559    LIFETIME 6' FOLDING TABLE                     4.00       35.00          140.00           0.00             0.00
560    LIFETIME 6' FOLDING TABLE                     5.00       35.00          175.00           0.00             0.00
561    LIFETIME 6' FOLDING TABLE                     5.00       45.00          225.00           0.00             0.00
561a   AXLER PORTABLE MEDIUM DUTY                    2.00      110.00          220.00           0.00             0.00
       SHOOTING RISER WITH CARRYING CASE,
       MEASURING 3'X 3'
562    MILWAUKEE TOOL BAG INCLUDES                   1.00      140.00          140.00           0.00             0.00
       ASSORTED TOOLS
563    PROSTORM TOOL SET (INCOMPLETE)                1.00       40.00           40.00           0.00             0.00
564    LOT CONSISTING OF (2) LEVELS                  1.00       11.00           11.00           0.00             0.00
565    MILWAUKEE DRILL, IMPACT DRIVER,               1.00      150.00          150.00           0.00             0.00
       CHARGER AND (1) BATTERY
566    MILWAUKEE PACKOUT CUSTOMIZABLE                1.00       45.00           45.00           0.00             0.00
       TOOL CASE
567    SEEKONE HEAT GUN                              1.00       30.00           30.00           0.00             0.00
568    LOT CONSISTING OF ASSORTED                    1.00       40.00           40.00           0.00             0.00
       EXTENSION CORDS
569    MILWAUKEE BATTERY OPERATED TOOL               1.00      450.00          450.00           0.00             0.00
       SET CONSISTING OF LEAF BLOWER 2724-20,
       WEED EATER 2825-20, CIRCULAR SAW
       2631-20, SAWZALL 2621-20, JIG SAW 2737-20,
       WITH RAPID CHARGER AND (2) BATTERIES
570    STEAMFAST STEAMER                             1.00       60.00           60.00           0.00             0.00
571    LUFKIN MEASURING WHEEL                        1.00       13.00           13.00           0.00             0.00
572    RIDGID 16 GALLON 6.5 HP NXT WET/DRY           1.00       70.00           70.00           0.00             0.00
       SHOP VACUUM MODEL HD1800
573    RIDGID 16 GALLON 6.5 HP NXT WET/DRY           1.00       60.00           60.00           0.00             0.00
       SHOP VACUUM MODEL HD1800
574    RUBBERMAID DURACHILL 75QT. COOLER             1.00       50.00           50.00           0.00             0.00
575    WERNER 8' FIBERGLASS A FRAME LADDER           1.00       70.00           70.00           0.00             0.00
                     Case 24-21209-LMI    Doc 147     Filed 12/19/24        Page 51 of 104
                                 SELLER REPORT OF LOTS SOLD                                          v9.19-COMaint-12




                                                                        CO #:                               1325
                                                                        Date:                        12/16/2024
                                                                        Page:                                  39


Lot#   Description                              Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
576    LOUISVILLE 6' FIBERGLASS A FRAME          1.00       50.00           50.00           0.00             0.00
       LADDER
577    LOUISVILLE 4' FIBERGLASS A FRAME          1.00       50.00           50.00           0.00             0.00
       LADDER
578    PLASTIC UTILITY CART                      1.00       40.00           40.00           0.00             0.00
579    ROCKnROLLER MULTI-CART RIO R2RT           1.00      100.00          100.00           0.00             0.00
       (MICRO) 8-IN-1 FOLDING MULTI-CART/HAND
       TRUCK/DOLLY/PLATFORM CART
580    ROCKnROLLER MULTI-CART RIO R2RT           1.00      140.00          140.00           0.00             0.00
       (MICRO) 8-IN-1 FOLDING MULTI-CART/HAND
       TRUCK/DOLLY/PLATFORM CART
581    LOT CONSISTING OF ASSORTED OFFICE         1.00      225.00          225.00           0.00             0.00
       FURNITURE CREDENZAS, OFFICE DESK,
       ROLLING TWO DRAWER FILES CABINETS
582    LOT CONSISTING OF FIRST AID SUPPLIES      1.00        7.00               7.00        0.00             0.00
583    LOT CONSISTING OF MISCELLANEOUS           1.00       10.00           10.00           0.00             0.00
       ITEMS ELECTRICAL SUPPLIES
584    LOT CONSISTING OF ASSORTED METAL          1.00        7.00               7.00        0.00             0.00
       WASTE BASKETS
585    LOT CONSISTING OF PLASTIC BINS AND BIN    1.00      100.00          100.00           0.00             0.00
       TOPS
586    LOT CONSISTING OF ASSORTED HOLIDAY        1.00       70.00           70.00           0.00             0.00
       SUPPLIES
587    LOT CONSISTING OF RESTAURANT              1.00       80.00           80.00           0.00             0.00
       SUPPLIES INCLUDING SQUEEZE BOTTLES,
       BUTTER ROLLERS, UTENSIL, CUTTING
       BOARDS
588    KATOM RESTAURANT SUPPLIES FULL            1.00       30.00           30.00           0.00             0.00
       BASKET
589    WINCO FRENCH FRY CUTTER 3/8 CUT           1.00       40.00           40.00           0.00             0.00
590    WINCO 20QT. ALUMINUM POT (NEW)            1.00       30.00           30.00           0.00             0.00
591    NEMCO FOOD WARMER (NEW)                   1.00       35.00           35.00           0.00             0.00
592    HAMILTON BEACH COMMERCIAL ELECTRIC        1.00      150.00          150.00           0.00             0.00
       CITRUS JUICER MODEL HC J967
593    KEURIG K-CUP COFFEE MAKER                 1.00       11.00           11.00           0.00             0.00
594    NEMCO EASY TOMATO SLICER 1/4"             1.00      100.00          100.00           0.00             0.00
595    WINCO ICE TEA DISPENSER                   1.00       30.00           30.00           0.00             0.00
596    LOT CONSISTING OF RESTAURANT              1.00      100.00          100.00           0.00             0.00
       SUPPLIES CAMBRO PLASTIC FOOD
       STORAGE CONTAINERS AND COVERS
597    WINCO HEAVY DUTY ALUMINUM GRILL           2.00       30.00           60.00           0.00             0.00
       SCRAPER
                     Case 24-21209-LMI      Doc 147    Filed 12/19/24        Page 52 of 104
                                 SELLER REPORT OF LOTS SOLD                                           v9.19-COMaint-12




                                                                         CO #:                               1325
                                                                         Date:                        12/16/2024
                                                                         Page:                                  40


Lot#   Description                               Quantity   Unit Price       Ext.Price Comm/BuyBack        Expenses
598    EDLUND MANUAL COMMERCIAL CAN               1.00       35.00           35.00           0.00             0.00
       OPENER MODEL 1
599    LOT CONSISTING OF RESTAURANT               1.00      225.00          225.00           0.00             0.00
       SUPPLIES INCLUDING KNIVES, ICE CREAM
       BALLERS, CUTTING BOARDS, STAINLESS
       STEEL TOSSING BOWLS, PAN SHEET,
       THERMOMETERS, AND MORE
600    TAYLOR PROFESSIONAL DIGITAL PORTION        2.00       35.00           70.00           0.00             0.00
       CONTROL SCALES
601    CAMBRO 22 QT. STORAGE CONTAINERS          18.00        6.00          108.00           0.00             0.00
       INCLUDES LIDS
602    LOT CONSISTING OF LARGE SIZE               1.00       60.00           60.00           0.00             0.00
       NETWORKING CABLES
603    DZOFILM VESPID HARD SHELL CASE             1.00       25.00           25.00           0.00             0.00
       (EMPTY)
604    WESTCOTT FJ400 STROBE 2-LIGHT              1.00      600.00          600.00           0.00             0.00
       LOCATION AND STUDIO LIGHTING KIT
       INCLUDES FJ-X3 M UNIVERSAL
       MULTI-BRAND WIRELESS TRIGGER
605    FOLDING CHAIRS                             9.00       15.00          135.00           0.00             0.00
606    LOT CONSISTING OF ASSORTED OFFICE          1.00       60.00           60.00           0.00             0.00
       SUPPLIES AND SUNDRIES
607    LOT CONSISTING OF GLASS TOP MONITOR        1.00       11.00           11.00           0.00             0.00
       RISERS
608    FEATHER FLAG ADVERTISING POLES             2.00       11.00           22.00           0.00             0.00
609    SUNNIMAX CANOPY TENT 10' X 10'             1.00      100.00          100.00           0.00             0.00
610    SUNNIMAX CANOPY TENT 10' X 10'             1.00      100.00          100.00           0.00             0.00
611    LOT CONSISTING OF VARIOUS LIGHTING         1.00        7.00               7.00        0.00             0.00
612    RUBBERMAID BRUTE HEAVY DUTY UTILITY        1.00       90.00           90.00           0.00             0.00
       CART (NEW)
613    DANA DOLLY PORTABLE CAMERA DOLLY           1.00      225.00          225.00           0.00             0.00
       SYSTEM (MAY BE INCOMPLETE) INCLUDES
       HARD CARRYING CASE
614    SAMSUNG WALL MOUNT BRACKETS                3.00       25.00           75.00           0.00             0.00
615    JUNO TRACK LIGHTING T6BL 6FT LONG          8.00        7.00           56.00           0.00             0.00
616    LOT CONSISTING OF RATCHET STRAPS           1.00       30.00           30.00           0.00             0.00
617    COMMERCIAL ELECTRIC DRUM FAN 24"           1.00      190.00          190.00           0.00             0.00
618    HARPER CONVERTIBLE HAND TRUCK              1.00      110.00          110.00           0.00             0.00
619    TOOLWIZ 36'' MAGNETIC SWEEPER              1.00       40.00           40.00           0.00             0.00
       INCLUDES WHEELS
620    LOT CONSISTING OF PROMOTIONAL ITEM         1.00       40.00           40.00           0.00             0.00
       TOTES, COASTERS, BUSINESS CARD
       HOLDERS, WIRELESS CHARGERS, NOTE
                     Case 24-21209-LMI          Doc 147   Filed 12/19/24     Page 53 of 104
                                         SELLER REPORT OF LOTS SOLD                                    v9.19-COMaint-12




                                                                         CO #:                                1325
                                                                         Date:                         12/16/2024
                                                                         Page:                                   41


             PADS, ANS STRESS BALLS, ALL BRANDED
             INCLUDES SHIFTPIXY ON IT
621          LOT CONSISTING OF BRANDED COFFEE         1.00      70.00         70.00            0.00            0.00
             MUGS APPROX: 200 +/-
622          LOT CONSISTING OF BRANDED CLEAR          1.00      70.00         70.00            0.00            0.00
             WATER BOTTLES APPROX: 180 +/-
623          LOT CONSISTING OF ASSORTED               1.00      13.00         13.00            0.00            0.00
             RESTAURANT DISPOSABLE SUPPLIES
624          LIFETIME 6' FOLDING TABLE                5.00      35.00        175.00            0.00            0.00
625          ALUMINUM DOCK PLATE 3' W                 1.00      90.00         90.00            0.00            0.00
626          RHINO RAMPS                              2.00      40.00         80.00            0.00            0.00
627          EMPTY TRADESHOW DISPLAY CASES            5.00       5.00         25.00            0.00            0.00
628          TABLE TOPS 6' W                          1.00      30.00         30.00            0.00            0.00
629          AREA RUG (USED)                          1.00      18.00         18.00            0.00            0.00
630          LOT CONSISTING OF ASSORTED TV            1.00      16.00         16.00            0.00            0.00
             MOUNTS AND BRACKETS
631          DOORBIRD A1101 IP VIDEO INDOOR           1.00      80.00         80.00            0.00            0.00
             STATION
632          GLOWFORGE PRO WITH COMPACT FILTER        1.00   1,400.00      1,400.00            0.00            0.00
             CF-100
633          SECURITY CAMERAS MODELS CISCO MV32      25.00      12.00        300.00            0.00            0.00
             AND MV72, (***NOTE BUYER IS
             RESPONSIBLE FOR REMOVING, SOME
             CAMERAS ARE UPTO 20 FEET HIGH, BUYER
             MUST BRING THEIR OWN EQUIPMENT TO
             REMOVE***)
             (SEE PHOTOS FOR DETAILS)
                                                                           Total Quantity:               1,208.00
                                                                 Total Invoice Sale Price:             535,047.52
                                                                        Total Due to Seller:           535,047.52
                                                                           Total Payments:                   0.00
                                                                                  Balance:            $535,047.52

                                                                        Positive Balance, Monies Owed to Seller
                                                                      Inventory Remaining For This Seller Order

      COMMISSION SETTINGS
      Calculate Commission By: Each
      Commission Structure Type: Fixed

      Any Amount                          0%
   Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 54 of 104




UNSOLD REMAINING LOTS REPORT
                    Case 24-21209-LMI       Doc 147         Filed 12/19/24   Page 55 of 104
12/17/2024                                   Moecker Auctions                                      Page: 1
16:51:49                                  Remaining Auction Lots                              v9.19-Clerking-31
                                            347 - ShiftPixy, Inc.

  Lot#       Description                                                                          Quantity
  6          IMUSA 4 CUP ELECTRIC ESPRESSO MAKER                                                            1
             (MISSING PARTS/INCOMPLETE)

  30         L-SHAPE DESK INCLUDES OFFICE ROLLING CHAIR                                                     1
             AND (1) METAL THREE DRAWER ROLLING FILE CABINET AND METAL
             TRASH BIN

  54         DZOFILM PICTOR 20-55MM AND 50-125MM T2.8 S35 ZOOM                                              2
             CAMERA LENS SET, INCLUDES HARD CARRYING CASE

  57         ARRI SKYPANEL S60-C LED SOFTLIGHT INCLUDES MANUAL                                              1
             YOKE

  58         ARRI SKYPANEL S60-C LED SOFTLIGHT INCLUDES MANUAL                                              1
             YOKE

  378        RICOH PRO PRINT CARTRIDGES                                                                   20
             (5) CYAN, (7) BLACK, (5) MAGENTA, (3) YELLOW

  402        MICROSOFT SURFACE MODEL 1960                                                                   1
             FACTORY RESET, 512GB

  410        MICROSOFT SURFACE MODEL 1796                                                                   1
             FACTORY RESET, 512GB, INCLUDES POWER SUPPLY

  444        MICROSOFT WIRELESS KEYBOARD                                                                  25

  462        OWL LABS MEETING QWL PRO                                                                       1
             NO POWER SUPPLY

  548        LG 27" MONITORS MODEL 27BL55U-B                                                                3
             INCLUDES POWER SUPPLY

  549        LG 27" MONITORS MODEL 27BL55U-B                                                                3
             INCLUDES POWER SUPPLY

  550        LG 27" MONITORS MODEL 27BL55U-B                                                                3
             INCLUDES POWER SUPPLY
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 56 of 104




    REGISTERED BIDDERS
12/16/2024                Case 24-21209-LMI Moecker
                                             Doc 147    Filed 12/19/24
                                                    Auctions                        Page 57 of 104               Page: 1
12:09:18                                            All Bidders                                            v9.19-CheckIn-1


 Auction ID      Auction Dates                     Auction Name
 347             12/5/2024 - 12/5/2024             ShiftPixy, Inc.

    Bid Card #                     Customer Code Name
     1001                            B34905     Holland, Allen
     1002                            B38577     Billy Brangus, LLC | Happy ending Charter, LLC, Brown, William
     1003                            B38621     Walis, David
     1004                            B29943     Tatum, Donald
     1005                            B37363     Escarda, Jose
     1006                            B30368     Graphaholics Inc, Torres, Vanessa
     1007                            B37267     Rowe, Deeana
     1008                            B39002     Dukes Automotive LLC, Mauldin, Claude
     1009                            B38189     Estrada, Carlos
     1010                            B35871     Catoira, Arthur
     1011                            B30934     Moreau, Michel
     1012                            B39003     Winston, James
     1013                            B39004     Bruce, Michael
     1014                            B32043     Torre Forte Import E Export Llc, Socarras, Yusimi
     1015                            B33431     Dzanku, John Paul
     1016                            B34404     Pfeffer, Jacob
     1017                            B33338     Riesgo, Juan
     1018                            B39005     Fisher, James
     1019                            B38301     Oliveira, Kaio
     1020                            B30001     Madrzyk, Andrzej
     1021                            B39006     McElroy, William
     1022                            B37212     Estremadoiro, Camilo
     1023                            B34025     FF Trading Company, Weiger, Karen
     1024                            B39007     Faraj, Thamir
     1025                            B32819     Quinones, William
     1026                            B39008     Le Petit Jardin Cafe Inc, Galynsky, Alex
     1027                            B27097     Robinson, Charles
     1028                            B36285     Adcemediagroup.com, Perez, Cesar
     1029                            B37552     Doctor Parts Inc Dba Doctor 4 Sale, Scalia, Rosan
     1030                            B39009     Ngy, Uykheng
     1031                            B37277     Allen, Kisha
     1032                            B29389     Krutakov, Pavel
     1033                            B38616     Natmar Food Corp, Melo, Robert
     1034                            B38613     Sean Maki Communications Llc, Maki, Sean
     1035                            B34956     Barretto, Gustavo
12/16/2024            Case 24-21209-LMI Moecker
                                         Doc 147    Filed 12/19/24
                                                Auctions                   Page 58 of 104        Page: 2
12:09:18                                     All Bidders                                     v9.19-CheckIn-1


 Auction ID   Auction Dates                 Auction Name
     1036                      B37043    Simons Active Trading Inc, Burger, Aron
     1037                      B35975    Morales, Fredy
     1038                      B37222    Ferrazza, James
     1039                      B38759    RiverFinn LLC., Gray, Stanley
     1040                      B33791    El Cheapo Movers, Blanchard, Ward
     1041                      B23915    Lindeman, Wayne
     1042                      B18964    Rodriguez, Robert
     1043                      B39010    Fournier, Steve
     1044                      B32065    Cooper, DWayne
     1045                      B31733    Redland Realty and Auction LLC, Rodriguez, Alex
     1046                      B28428    Beyel, Tammy
     1047                      B38898    Jaramillo, Alejandro
     1048                      B33136    Pelc, Antoni
     1049                      B28710    Crossmedia Marketing Group, Inc., Arcuri, Gabriel
     1050                      B27474    PSJ Solutions, Kraff, Jason
     1051                      B31104    My RV School, Gaston, Jeffrey
     1052                      B38896    Simpson, Susan
     1053                      B39011    Andion, Pedro
     1054                      B30241    Williams, Herschel
     1055                      B32224    Scism, David
     1056                      B35566    Davila, Jose
     1057                      B38032    Santos, Guilherme
     1058                      B38841    Khafizov, Rushan
     1059                      B39012    Camarillo, Vanessa
     1060                      B33348    Markelov, Evgeny
     1061                      B9208     Gonzalez, Samuel
     1062                      B36182    Prince, Elvin
     1063                      B39013    Levenson, Jeff
     1064                      B26006    Progresso Four Corp, Gomes, Frederico
     1065                      B34093    Murray, Norman
     1066                      B33051    Williams, Robert
     1067                      B28612    Pulmano, Larry
     1068                      B28670    Gonzalez, Gustavo
     1069                      B19699    Perdereaux-Weekes, Alexis
     1070                      B36572    Hall, Afua
     1071                      B39014    Champlin, Westen
12/16/2024            Case 24-21209-LMI Moecker
                                         Doc 147    Filed 12/19/24
                                                Auctions                    Page 59 of 104         Page: 3
12:09:18                                      All Bidders                                      v9.19-CheckIn-1


 Auction ID   Auction Dates                 Auction Name
     1072                      B36538    Pasadena Tech Recycle Inc., Kamran, Alex
     1073                      B39015    Qps, Geller, Yisroel
     1074                      B30448    Zitkiewicz, Gregory
     1075                      B38900    T. Dwyer Sales, LLC, Dwyer III, Edward T
     1076                      B25979    Mi Madre's mexican restaurant, Torres, Aurelio
     1077                      B38831    Disbrow, Traylor
     1078                      B33533    Amabile, Michael
     1079                      B35949    Lewis, Rance
     1080                      B38118    Mcgrath, Matthew
     1081                      B28431    Jones, Jeremy
     1082                      B33930    Martinez, Eli
     1083                      B35542    Powell, Allen
     1084                      B27752    1974 HOME SERVICES, Labaca, Andres
     1085                      B39016    Portillo, Salvador
     1086                      B39017    Bruno, Jonathan
     1087                      B39018    Flores, Hector
     1088                      B28483    Jean, Emmanuel
     1089                      B39019    Madzorera, David
     1090                      B39020    Harris, Giovanni
     1091                      B39021    Johnson, Matt
     1092                      B18572    Grg Technology, Robbins, Alan
     1093                      B39022    Hachem, Haidar
     1094                      B39023    de Almeida, Pedro
     1095                      B39024    Powerkleen, Robey, Josiah
     1096                      B39025    Rivera, Mark
     1097                      B39026    Sara, Simon
     1098                      B28658    Amazing Odor Control Of Kendal Inc, Zamora, Orlando
     1099                      B39027    Ge-Acaiaba, Donizete
     1100                      B39028    Salant, Eric
     1101                      B33567    Seraydar, Ashley
     1102                      B38021    Okereke, Peter
     1103                      B23055    Dumitrescu, Serban
     1104                      B35438    Barcelo, Rene
     1105                      B12487    Gallego, Jose
     1106                      B28975    Ll Equipment LLC, Lovell, Derek
     1107                      B39029    Concremet Corp, Lamus, Enoc
12/16/2024            Case 24-21209-LMI Moecker
                                         Doc 147    Filed 12/19/24
                                                Auctions                    Page 60 of 104       Page: 4
12:09:18                                      All Bidders                                    v9.19-CheckIn-1


 Auction ID   Auction Dates                  Auction Name
     1108                      B39030    Lopez, Juan
     1109                      B33824    Vaupel, Ivan
     1110                      B23994    Tula, Richard
     1111                      B36022    Banegas, Javier
     1112                      B19042    Mallozzi, John
     1113                      B35488    Gorn, Steven
     1114                      B34938    Brown, Connor
     1115                      B26321    Zaghli, Mourad
     1116                      B36330    Simms, Lee
     1117                      B39031    Reggae Beets LLC, Flowers, Orrette
     1118                      B32221    Nelson, Gary
     1119                      B36025    Clayton, Eyvette
     1120                      B25763    Freire, Oswaldo
     1121                      B39032    Mays Espinoza, Jacquelynn
     1122                      B39033    Levine, Barry
     1123                      B39034    Bouchillon, J.r.
     1124                      B23208    Higgins, Ryan
     1125                      B32454    Garcia, Domingo
     1126                      B24783    Gibbons, Michael
     1127                      B36355    Lumley, James
     1128                      B29920    Phillip, Chad
     1129                      B24959    Barroso, Rogelio
     1130                      B37136    Good Buys Four U, Fuller, David
     1131                      B39035    The Mwp Co Llc, Yevtukh, Taras
     1132                      B39036    Ponte, Pedro
     1133                      B28346    Cousin Vinny, Termini, Vincent
     1134                      B39037    Solis, Valdemar
     1135                      B25020    Gavers Exc, Gavers, Daniel
     1136                      B38812    Browner, Michael
     1137                      B38847    Tamayo, Emilio
     1138                      B32275    Sanabria, Mario
     1139                      B36819    Lincoln Import and Export Inc, Payao, Lincoln
     1140                      B38240    Fiallo, Samuel
     1141                      B39038    Sundberg, Kason
     1142                      B35160    Preston, Paul
     1143                      B33250    Perque, Jonathan
12/16/2024            Case 24-21209-LMI Moecker
                                         Doc 147    Filed 12/19/24
                                                Auctions                    Page 61 of 104          Page: 5
12:09:18                                      All Bidders                                       v9.19-CheckIn-1


 Auction ID   Auction Dates                  Auction Name
     1144                      B39039    Marquee Poster, Johnston, Matt
     1145                      B28832    Bilobran, Stephen
     1146                      B16890    Caruth, Quinten
     1147                      B39040    Caruth, Thomas
     1148                      B38843    Reyes, Felix
     1149                      B28975    Ll Equipment LLC, Lovell, Derek
     1150                      B6325     Reynoso, Will
     1151                      B37279    Versannes, Luc Edner
     1152                      B37686    Suhre, Derek
     1153                      B29506    Turner, Wally
     1154                      B30697    Spagnuolo, Cristiano
     1155                      B39041    Brand, Eric
     1156                      B39042    Chavez, Jose
     1157                      B39043    Jokic, Nikola
     1158                      B39044    Yates, Wesley
     1159                      B39045    Vargas, Daniel
     1160                      B34368    Delgado, Miguel
     1161                      B29173    Mchenney, Daniel
     1162                      B25323    Re2000group,Inc., Suarez, Jay
     1163                      B37458    Neeli, Phanindra
     1164                      B39046    Malave, Kevin
     1165                      B33595    Castro, Javier
     1166                      B20566    MARITIME CREATIVE, LLC, Pozniak, Rj
     1167                      B38612    Moreno, David
     1168                      B39047    LeMaire, Ryan
     1169                      B20080    Bacarili, Carlos
     1170                      B36403    Vasquez, Angel
     1171                      B29626    Miller, Matthew
     1172                      B36172    Accurate Bussiness Systems, Inc., Woodside, Lucricia
     1173                      B39048    Brindle, Ralph
     1174                      B35981    Frallicciardi, Toni
     1175                      B35855    Sue Santos / Sue's Variety Store, Omier, Milton
     1176                      B37747    Hair & Accessories, Inc., Altarawneh, Mais
     1177                      B37447    Nikola Medical Equipment, Inc, Terer, Henry
     1178                      B28298    Amar, David
     1179                      B38578    Khonat, Abdul
12/16/2024            Case 24-21209-LMI Moecker
                                         Doc 147    Filed 12/19/24
                                                Auctions                     Page 62 of 104         Page: 6
12:09:18                                      All Bidders                                       v9.19-CheckIn-1


 Auction ID   Auction Dates                  Auction Name
     1180                      B36374    North point physicians, Luciani, Marlo
     1181                      B29905    Emerick, Chris
     1182                      B24690    Acosta, Jose
     1183                      B39049    Smith, Camilla
     1184                      B39050    Morari, Yogesh
     1185                      B36178    Pettigny, Vastya
     1186                      B39051    Espinal, Yoel
     1187                      B32347    Krus, Gary
     1188                      B32085    Magaya, Moses
     1189                      B34534    Bozo I LLC, Lamberto, Jose
     1190                      B31073    Carvalho, Ricardo
     1191                      B33862    Shimmerstone Limited Liability Company, Grant, Julia
     1192                      B39052    Robinson, Alexander
     1193                      B32544    JET DIRECT AEROSPACE CORP,
     1194                      B39053    Colledge, Neil
     1195                      B39054    Garcia, Pete
     1196                      B39055    Jacobs, Tony
     1197                      B39056    Gonzalez, Lucio
     1198                      B39057    Griffin, Bernard
     1199                      B27091    Fleet Lease Auto Group Inc, Cruz, Ibzan
     1200                      B24217    LEAL & LOYALL LLC, Leal, Angel
     1201                      B39058    Ruiz, Juan
     1202                      B35603    Elhaddad, Sherif
     1203                      B39059    Houston, Anthony
     1204                      B38855    Wills, Emily
     1205                      B39060    Herrera, Carolina
     1206                      B38493    Cespedes, Carlos
     1207                      B39061    Costello, Brian
     1208                      B39062    Washington, Monese
     1209                      B39063    Azizi, Mohammad Mahfooz
     1210                      B19180    Bohrer, Chet
     1211                      B28415    NEXTLIFE ASSEST SALES LLC, guevara, Edgar
     1212                      B39064    Car Solutions LLC, Cedeno, Malaquias
     1213                      B39065    Moody, Dennis
     1214                      B39066    El srouji, Jamil
     1215                      B35513    Herrera, Greter
12/16/2024            Case 24-21209-LMI Moecker
                                         Doc 147    Filed 12/19/24
                                                Auctions                    Page 63 of 104       Page: 7
12:09:18                                      All Bidders                                    v9.19-CheckIn-1


 Auction ID   Auction Dates                 Auction Name
     1216                      B39067    Hadden, Anthony
     1217                      B39068    Ancaster Food Equipment, Bessi, Eugene
     1218                      B35915    Zahra LLC, Abu-Alhaj, Eyas
     1219                      B39069    Dukes, Johnny
     1220                      B39070    TAIF, Inc, Talluto, Joe
     1221                      B39071    Miessau, John
     1222                      B39072    Winograde, Lester
     1223                      B39073    Palm, Nicholas
     1224                      B39074    Pop, Mariana
     1225                      B19233    Garrett, Steve
     1226                      B24562    Calped Trading, Orta, Calixto
     1227                      B25178    Gabriel Marcin Grocholski, Grocholski, Gabriel
     1228                      B25206    Haney's Cafe, Haney, Vernon
     1229                      4832      Cube Care Co, Robledo, Susana
     1230                      B39075    Parra, Jeryl
     1231                      B38813    Papayeva, Etelly
     1232                      B33138    Martins, Michael
     1233                      B30977    Bueno, Camilo
     1234                      B35662    Shaw, Mike
     1235                      B38187    Chehebar, David
     1236                      B25195    White, Ryan
     1237                      B34557    Weber, Tara
     1238                      B39076    Cespedes, Anna
     1239                      B32332    Pye, Michael
     1240                      B39077    Diaz, Ramiro
     1241                      B34423    Valbrun, Standley
     1242                      B32850    King Tasty Dough LLC, Bono, Maria
     1243                      B19989    Interlam, Eckenrod, Skip
     1244                      B38504    Rose, Zach
     1245                      B32985    The Auctionator, Cohen, Paul
     1246                      B25010    Valdes, Ramon
     1247                      B25320    Black Dogs, Gleason, George
     1248                      B39078    Barillas, Sonia
     1249                      B39079    ISLAMIC CENTER OF WEST DELRAY BEACH INC, KHALIL, SAED
     1250                      B39080    Irwin, Tory
     1251                      B39081    Martinez, Juan
12/16/2024            Case 24-21209-LMI Moecker
                                         Doc 147    Filed 12/19/24
                                                Auctions                     Page 64 of 104       Page: 8
12:09:18                                      All Bidders                                     v9.19-CheckIn-1


 Auction ID   Auction Dates                  Auction Name
     1252                      B34421    Zamu Retail LLC, Farinas, Neftali
     1253                      B2129     Castano, Fernando
     1254                      B30317    Carroll Smith, Austin
     1255                      B27237    Alvarez, Jovany
     1256                      B32955    Baruch, Raphael
     1257                      B39082    Fleet Lease Auto Group Inc, Lima, Alessandro
     1258                      B39083    Mendoza, Carlos
     1259                      B35119    Valentin, Elliot
     1260                      B39084    Smith, Zavian
     1261                      B32401    Thoroughbred Motors, Dessberg, Rodney
     1262                      B29295    Minsky, Geoff
     1263                      B26284    GO 2 EVENTS, Morrasca, Marcelo
     1264                      B39085    Bais Chaya Inc, Rabin, Moshe
     1265                      B39086    Carrier, Justin
     1266                      B29970    A Great Deal LLC, Candelaria, Steven
     1267                      B30693    Charles, Findler
     1268                      B39087    Achilles, David
     1269                      B17104    RepoSell.com, DeMink, Jason
     1270                      B30346    Tejeda, Ronald
     1271                      B26344    Auto Sales Int'l, George, Britney
     1272                      B39088    Sarkis, Vahram
     1273                      B34961    Rodriguez, Fernando
     1274                      B28079    Sutton, Carolyn
     1275                      B39089    Leonoff, Hernan
     1276                      B13019    Ft Myers Auction Co, Ulum, Wayne
     1277                      B27362    AutoPrimeFL, Zhdaniuk, Andrei
     1278                      B21599    Holzemer, Andrew
     1279                      B27025    Nain Distributors, Leconte, Henri
     1280                      B31108    Taflinger, Robert
     1281                      B37181    Cardoso, Livan
     1282                      B27077    3rg Llc, Jadusingh, Ray
     1283                      B36604    Melendez, Nicholas
     1284                      B29030    Miami Shelving, Montiel, Priscila
     1285                      B39090    Qattawi, Shadi
     1286                      B28603    Conde, Primitivo
     1287                      B20176    INJ Inc, Czempinski, Norbert
12/16/2024            Case 24-21209-LMI Moecker
                                         Doc 147    Filed 12/19/24
                                                Auctions                    Page 65 of 104       Page: 9
12:09:18                                     All Bidders                                     v9.19-CheckIn-1


 Auction ID   Auction Dates                 Auction Name
     1288                      B38036    Moreto, Fellipe
     1289                      B39091    Germain, Jason
     1290                      B23719    Cabrera, Julio
     1291                      B30334    Thompson, Paul
     1292                      B24532    CocoNifty Company, Velasco, Alvin
     1293                      B38259    Saravia, Samuel
     1294                      B39092    Ward, Christina
     1295                      B37878    Diaz, Rosa
     1296                      B38751    Morris, Jim
     1297                      B39093    Khalil, Moeen
     1298                      B27013    Decon, Muller, Dan
     2001                      B39097    Asare, Daniel
     2002                      B35444    Zeng, Collin
     2005                      B39178    2000, Kalisky, Lorne
     2007                      B39139    Pharmix USA, Kazumian, Kari
     2015                      B23208    Higgins, Ryan
     2016                      B39169    Patel, Pranesh
     2017                      B38870    Velieto ConstructionLLC, Velazco, Eric
     2019                      B39107    Bakery On Main, Giuliano, Frank
     2020                      B39095    Melting Moments Catering, Silletta, Paul
     2021                      B39128    Virix Llc, Whetstone, Hayden
     2022                      B39104    Shabazz, Stevens, Derrick
     2023                      B39167    Beneli, David
     2024                      B39141    Hardy Imports, Inc., Tuck, Leroy
     2025                      B36025    Clayton, Eyvette
     2026                      B19047    Pulley, Deron
     2027                      B37699    Firomar, Higgins, Kieran
     2030                      B38561    Glappy, Avre, Russell
     2033                      B37694    Puregreen, Cohen, Isaac
     2035                      B38889    Sanchez, Samuel
     2037                      B39106    Thomas, Ara
     2039                      B28187    Almestro, Raydel
     2042                      B39186    Duque foods, LLC, Fernandez, Diego
     2044                      B39151    Burgos, Maria
     2045                      B39109    Wang, Xiao
     2053                      B37664    Pelaez, Sebastian
12/16/2024            Case 24-21209-LMI Moecker
                                         Doc 147    Filed 12/19/24
                                                Auctions                      Page 66 of 104     Page: 10
12:09:18                                      All Bidders                                      v9.19-CheckIn-1


 Auction ID   Auction Dates                  Auction Name
     2060                      B39188    LoopBeatzz ENT, Townsell, Landor
     2061                      B39102    Handwerker, Kasey
     2062                      B38874    Mwoleka, Godwin
     2063                      B37716    Schwartzman, Alexis
     2065                      B39117    Jimenez, Carlos
     2066                      B38565    Sigismondi, Williams
     2068                      B39130    Criss Services Llc, Londono, Cristian
     2070                      B39094    RoyMcKinnon.com, McKinnon, Roy
     2071                      B39135    Wild West Trade Inc, Burga, John
     2073                      B39124    Brito, Gabriel
     2075                      B39099    TheeLAnetwork LLC, Metts, Leslie
     2081                      B39098    Jane, Grace
     2083                      B38901    Boros, Kelly
     2087                      B39096    Sorokins, Aleksandrs
     2090                      B26259    Meseguer, Diego
     2092                      B38664    Resturant, Aldeen, Mahmoud
     2098                      B38886    Sustainable ITAD LLC, Hajrullahu, Ridvan
     2099                      B39123    Frio Distributors, Iii, Remi
     2100                      B38662    94176641 Quebec Inc, Rahy, Tony
     2101                      B38879    Narvaez, Juan
     2104                      B39196    Morales, Luis
     2105                      B39168    Ungar, Naftali
     2107                      B37795    Online Electronics Liquidation, Wolf, Phillip
     2108                      B39116    Eurosuites Auto Rental, Calero, Carlos
     2109                      B39176    Project Company LLC, Nelson, Joshua
     2110                      B39174    Ces, Lujan, Carmen
     2113                      B39145    Nicholas Torres RN, Inc, Torres, Nicholas
     2116                      B39164    Atlas Wholesale Food Company, Kohl, John
     2117                      B38457    Ayala, Jose
     2118                      B39132    Suarez, Ivan
     2121                      B39179    Les Aliments PTG Foods, Derrico, Rick
     2132                      B37400    Mjas, Slavin, Michael
     2133                      B37799    Prieto, Rudy
     2137                      B39129    Adkin, Henry
     2138                      B39162    Osei, Kwabena
     2140                      B39194    Agbokame, Francois
12/16/2024            Case 24-21209-LMI Moecker
                                         Doc 147    Filed 12/19/24
                                                Auctions                        Page 67 of 104     Page: 11
12:09:18                                      All Bidders                                        v9.19-CheckIn-1


 Auction ID   Auction Dates                 Auction Name
     2141                      B39147    Forno Nonna Julia Srl, Silfa, Oscar
     2142                      B39172    Pixel Plus Graphics, Singh, Sarabjit
     2143                      B24158    TECHMA LLC, Umana, Antonio
     2145                      B39108    White, Steven
     2147                      B39190    Pretty Good Agents LLC, Cappocchi, Anthony
     2148                      B39103    Osei, Kwebana
     2151                      B39154    Teruel, Waltter
     2152                      B39121    Dsang Entertainment, llc, Sang, Dwight
     2153                      B39153    Papp, Timothy
     2156                      B39120    Alpine Brokerage Group LLC, Charley, Daniel
     2158                      B39195    Novum, Moore, Ian
     2159                      B38923    Giller PA, Giller, Jason
     2161                      B37494    Vetta Group Corporation, Nikiforov, Aleksei
     2163                      B39143    Rivera, Manuel
     2164                      B39045    Vargas, Daniel
     2166                      B38043    Finck, Skyler
     2167                      B20637    Glover, Randy
     2168                      B38564    Crowley, William
     2170                      B39157    Carter, Joshua
     2172                      B39152    Voltaire, Ronald
     2173                      B37417    First Coast Mgmt Solutions, Gray, Lee
     2174                      B38366    Elsayed Hagag, Hagag, Elsayed
     2175                      B39180    Radecki, Philip
     2179                      B24592    Stephens, Gary
     2182                      B39198    Rashid Manufacturing, Asif, Usman
     2183                      B37026    Quezada, Ernesto
     2184                      B37026    Quezada, Ernesto
     2185                      B39189    Novex, Miskovic, Ilija
     2187                      B37204    Ahmed, Ibrahim
     2189                      B39140    Cryptologicart, Pacheco, Marlon
     2191                      B39131    Fuse Mediaworks LLC, Piasecki, Paul
     2198                      B38440    Total Component Services, Fernandez, Yoe
     2205                      B36867    Bailey, Jason
     2206                      B37763    Usaf, Mark
     2208                      B39142    SuperToyz, Green, Paul
     2211                      B39191    USA Roller, Pagel, Wayne
12/16/2024            Case 24-21209-LMI Moecker
                                         Doc 147    Filed 12/19/24
                                                Auctions                       Page 68 of 104     Page: 12
12:09:18                                     All Bidders                                        v9.19-CheckIn-1


 Auction ID   Auction Dates                 Auction Name
     2212                      B39158    Ring's Precision Machine Shop LLC, Ring, Cody
     2214                      B39187    Bronsema, Seth
     2215                      B39183    Hoff, Ricky
     2216                      B37662    Herrera, Joelz
     2219                      B39192    Ak, Kumar, Akash
     2221                      B37438    Farshad llc, Shabansarvestani, Farshad
     2222                      B39156    Zahorodnyi, Oleh
     2223                      B38660    Panaderia y Productos Maria Aldape srl, Reyes, Maria
     2224                      B39122    FoodMadness LLC, Tinoco, Marjorie
     2226                      B29905    Emerick, Chris
     2228                      B39137    Miranda, Jose
     2229                      B39118    Cs cleaning company llc, Somacal, Charles
     2232                      B38221    Estrello, Mauricio
     2233                      B39197    Marcelo, Ganem, Marcelo
     2234                      B39184    B&D Automation LLC, Davidson, Brett
     2235                      B37388    Adjei, Kwadwo
     2237                      B39105    Fourier Labs LLC, Krishnan, Vidhya
     2239                      B39068    Ancaster Food Equipment, Bessi, Eugene
     2240                      B39177    Plante, Jeremy
     2243                      B39110    Suarez, Adrian
     2244                      B39101    Tall Oaks Creative, Mayotte, Matthew
     2245                      B37382    Electrade plus, Ompiri, Pierre
     2246                      B38867    Numerica, Inc., Sarrafiore, Christian
     2247                      B39193    Axial Design Srl, Balatus, Cristian
     2248                      B38370    Dff international, Valencia, Fernando
     2250                      B39173    Digital Shovel Holdings Inc, Johnson, Scot
     2251                      B39111    Neo Insurance Solutions, Siegel, Austin
     2254                      B39165    Proxibid, Gargano, Gabe
     2255                      B39181    Black, William
     2256                      B34421    Zamu Retail LLC, Farinas, Neftali
     2257                      B33119    AndersonTech Solutions, Anderson, Ian
     2259                      B39119    THE FRANCES 6 LLC,
     2260                      B38546    KwakuGenfi, Genfi, Kwaku
     2262                      B39112    Burger Boyz, Bailey, Gary
     2263                      B37454    Spilsbury, Greg
     2264                      B39136    Avc, Soto, Jonathan
12/16/2024            Case 24-21209-LMI Moecker
                                         Doc 147    Filed 12/19/24
                                                Auctions                     Page 69 of 104     Page: 13
12:09:18                                      All Bidders                                     v9.19-CheckIn-1


 Auction ID   Auction Dates                  Auction Name
     2266                      B39182    Boyd, Michael
     2267                      B39127    Gobbo, Joao
     2269                      B37038    Sheth, Bipin
     2270                      B38925    USA Construction & Management LLC, Cumings, Matt
     2274                      B39166    Proxibid, Nichols, Kate
     2275                      B37700    B'all Foods, Sagol, Alejandro
     2282                      B39113    BSD Capital LLC, Rosenblat, Boaz
     2286                      B39160    JSW Farm Chop Shop, Whitt, Jonathan
     2290                      B39093    Khalil, Moeen
     2291                      B39150    Curated Investments LLC, Kaplan, Rebeca
     2292                      B38052    Bsr store llc, Mukati, Bila
     2299                      B39125    Galaxy 11 Home Improvement LLC, Tinoco, Jose
     2300                      B38419    Alpha & 7 LLC, Correa, Ramon
     2301                      B37386    Charge Up Inc, Alfonso, Erick
     2303                      B39115    Fresh N Clean Laundromat, Case, Courtney
     2305                      B35140    Ford, Scott
     2306                      B39185    Baker Industrial Supply, Lefave, Jason
     2307                      B39155    Jonny Pie Investments LLC, Bornstein, Yoni
     2308                      B36698    Valenzuela, Ricardo
     2315                      B39159    Innovative Cooling Solutions, Murray, Jerome
     2316                      B39138    Painted Dog Media, Maeyer, Kara
     2321                      B39161    Quick Manufactuirng, Co., Manolakos, John
     2322                      B39163    Sinobad, Fill
     2325                      B39148    Eastvold, Phil
     2326                      B39100    575 Market Strategies, Hahn, Mark
     2327                      B39126    USF Fabrication, Finlinson, Grant
     2332                      B20866    Zygnerski, Eve
     2333                      B39146    Fernandez, Oscar
     2335                      B39144    Quelliv, Inc., Dominguez, Michelangelo
     2336                      B39171    RS Automation, Stacey, Richard
     2354                      B39133    Contreras, Ramon
     2356                      B37504    Technoparts-33, Henao, Valeria
     2357                      B39149    Global Plastics Machinery, Inc, Gonzalez, Ariel
     2359                      B39175    Kenson Plastics Inc, Oleary, Christopher
     2360                      B38475    Ramon Correa, Correa, Ramon
     2361                      B39170    Sean Solowiej, Solowiej, Sean
12/16/2024             Case 24-21209-LMI Moecker
                                          Doc 147    Filed 12/19/24
                                                 Auctions                          Page 70 of 104     Page: 14
12:09:18                                               All Bidders                                  v9.19-CheckIn-1


 Auction ID    Auction Dates                          Auction Name
     2372                          B38594         Md Machinery Center Llc, Gonzalez, Daniel
     2373                          B39134         JJH Technologies, Inc, Homan, Jeffrey
     2374                          B39114         Cox, Brent
     2375                          B18819         Ridao, Margarita
     2376                          B39229         Abreu, Ramon

              REPORT TOTALS
                           0 bidders with reserved bid card #'s
                        472 bidcard numbers
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 71 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 72 of 104




        ADVERTISEMENTS
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 73 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 74 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 75 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 76 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 77 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 78 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 79 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 80 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 81 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 82 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 83 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 84 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 85 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 86 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 87 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 88 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 89 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 90 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 91 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 92 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 93 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 94 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 95 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 96 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 97 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 98 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 99 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 100 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 101 of 104
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 102 of 104
                   Case 24-21209-LMI                 Doc 147         Filed 12/19/24       Page 103 of 104




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1883 Marina Mile Blvd. Suite 106
Fort Lauderdale,FL 33315



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Fort Lauderdale,FL 33315




Before the undersigned authority personally appeared
Rose Williams, who on oath says that he or she is a duly authorized representative of the SUN- SENTINEL,
a DAILY newspaper published in BROWARD/PALM BEACH/MIAMI-DADE County, Florida; that the
attached copy of advertisement, being a Legal Notice in:

The matter of 11725-Notice of Public Sale ,
Was published in said newspaper by print in the issues of, and by publication on the
newspaper s website, if authorized on Nov 24, 2024; Dec 01, 2024
SSC Notice of Public Sale
Affiant further says that the newspaper complies with all legal requirements for
publication in Chapter 50, Florida Statutes.




Signature of Affiant
Sworn to and subscribed before me this: December 02, 2024.




Signature of Notary Public




Name of Notary, Typed, Printed, or Stamped
Personally Known (X) or Produced Identification ( )
                                  E-Mail
                                erodriguez@moeckerauctions.com
    7730994
Case 24-21209-LMI   Doc 147   Filed 12/19/24   Page 104 of 104




                                                                 Order # - 7730994
